Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 1 of 61 PageID# 614




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

                                             )
 IN RE VOLKSWAGEN AG                         ) Civil Action No. 1:22-cv-00045 (RDA/WEF)
 SECURITIES LITIGATION                       )
                                             ) CLASS ACTION
                                             )

                          MEMORANDUM OPINION AND ORDER

        This matter comes before the Court on the Motion to Dismiss (“Motion”) filed by

 Defendants Volkswagen Aktiengesellschaft (“Volkswagen AG” or “Volkswagen”), Volkswagen

 Group of America, Inc. (“VWGoA” or “Company”), Mark Gillies, and Scott Keogh (collectively,

 “Individual Defendants”). Dkt. 22. This matter has been fully briefed and argued and is now ripe

 for disposition. Considering the Motion, including the supporting memorandum (Dkt. 23), Lead

 Plaintiff Laszlo Rozsavolgyi’s (“Lead Plaintiff”) and named Plaintiff Thomas Wells’s (“Named

 Plaintiff”) opposition brief (Dkt. 33), and Defendants’ reply brief (Dkt. 36), as well as the

 arguments raised by counsel at the hearing held before this Court on February 1, 2023, this Court

 GRANTS Defendants’ Motion to Dismiss for the reasons that follow.

                                       I. BACKGROUND

                                     A. Factual Background 1

        Lead Plaintiff’s Amended Complaint alleges that VWGoA and the Individual Defendants

 violated § 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”) and SEC Rule 10b-5

 (“Rule 10b-5”). Dkt. 21 ¶ 183. The Complaint also alleges that Volkswagen AG and the

 Individual Defendants violated § 20(a) of the Exchange Act as control persons of VWGoA and


        1
          For purposes of considering the Motion, the Court accepts all facts contained within the
 Amended Complaint as true, as it must at the motion-to-dismiss stage. Ashcroft v. Iqbal, 556 U.S.
 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 2 of 61 PageID# 615




 are therefore directly liable for the alleged actions taken by VWGoA in violation of § 10(b) and

 Rule 10b-5. Id. ¶¶ 186-92.

        This matter matures as a class action on behalf of persons or entities who purchased

 publicly traded American Depositary Shares (“ADSs”) of Volkswagen AG between March 29,

 2021 and March 30, 2021 (the “Class Period”) following VWGoA’s publication of allegedly false

 and misleading statements that the Company would be changing its name from Volkswagen to

 Voltswagen.

        Volkswagen AG, an automotive Original Equipment Manufacturer, is a German

 corporation with its principal place of business in Wolfsburg, Germany. Id. ¶ 32. It sells its

 vehicles in the United States by way of its wholly owned subsidiary VWGoA, which is

 headquartered in Herndon, Virginia and sells its vehicles through a network of approximately

 1,000 independent dealers across America. Id. ¶¶ 32-34. Defendant Scott Keogh has served as

 the Chief Executive Officer and President of VWGoA since 2018, while Defendant Mark Gillies

 has served as Head of Product and Technology Communications of VWGoA since 2011, including

 as acting head of communications during the Class Period. Id. ¶¶ 36-37.

                                        Securities at Issue

        By way of background, it is noted that Volkswagen AG’s ordinary shares trade publicly on

 the German-based Frankfurt stock exchange under the ticker symbol 766400. Id. ¶ 42. These

 shares are also sold on the over the counter (“OTC”) market in the United States under the ticker

 symbol “VWAGY” for common shares and “VWAPY” for preferred. These securities are ADSs,

 which represent ownership in shares that trade on a foreign exchange but are otherwise controlled

 by a depositary institution in the United States. For example, holders of a VWAGY ADS receive

 beneficial ownership of one-tenth of one ordinary share in Volkswagen AG. Id. ¶ 44. Upon



                                                2
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 3 of 61 PageID# 616




 purchase of an ADS, the holder receives an American Depositary Receipt (“ADR”)—a negotiable

 certificate evidencing ownership interest in the ADS which has been deposited with a U.S. bank.

 An ADR trades in U.S. dollars and clears through U.S. settlement systems to avoid requiring that

 the purchase of the security be made with foreign currency. Id. ¶ 50 (citing SEC Investor Bulletin

 at 1). An ADR is an “instrument that represents a specified amount of a foreign security that has

 been deposited with a foreign branch or agent of the depositary, known as the custodian.”

 Parkcentral Global Hub Ltd. v. Porsche Auto. Holdings SE, 763 F.3d 198, 207 n.9 (2d Cir. 2014).

 ADSs and ADRs are used “interchangeably” to evidence a holder’s beneficial ownership interest

 in a company’s shares that trade on a foreign exchange. Id. A depositary bank creates an ADR

 program in which ADSs may be traded in a U.S. market when the foreign issuer of the underlying

 shares, or an investor already holding such shares, delivers the shares to the depositary bank or its

 custodian in the foreign issuer’s home country. SEC Investor Bulletin at 1. The bank will then

 issue ADRs to an investor seeking to purchase the securities in the United States and that investor

 will be able to trade those securities on a U.S. exchange or an OTC market. Id.

        U.S. banks that provide ADRs to U.S. market participants do so either on a sponsored or

 unsponsored basis. A foreign issuer, like Volkswagen AG, may elect to sponsor ADRs in U.S.

 markets through “active participation of the issuer of the underlying security.” Pinker v. Roche

 Holdings Ltd., 292 F.3d 361, 367 (3d Cir. 2002). “An issuer who sponsors an ADR enters into an

 agreement with the depositary bank and the ADR owners [which] establishes the terms of the

 ADRs and the rights and obligations of the parties, such as the ADR holders’ voting rights.” Id.

 Whereas, “[a]n unsponsored ADR is established with little or no involvement of the issuer of the

 underlying security.” Id. Unsponsored arrangements still require that the depositary bank

 operating in the United States file a Form F-6 with the SEC to register the ADRs. American



                                                  3
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 4 of 61 PageID# 617




 Depository Receipts, Securities Act Release No. 33-6984, Exchange Act Release No. 34-

 29226, 56 Fed. Reg. 24,420, 24,422 (May 23, 1991) (hereinafter “1991 SEC ADR Release”).

        These ADR programs are traditionally classified into three levels. SEC Investor Bulletin

 at 2. Level 1 ADR programs encompass both unsponsored and sponsored ADR programs whereby

 the ADR trades exclusively on an OTC market. Id. The entity registering the ADR—the issuer

 of the underlying security if sponsored or the depositary bank if unsponsored—must file a Form

 F-6 with the SEC. Id. Level 2 ADR programs include only sponsored programs, trade on a

 national securities exchange rather than an OTC market, and, in addition to requiring the issuer to

 file Form F-6, requires that the foreign issuer register and file annual reports on Form 20-F with

 the SEC. Id. Level 3 ADR programs are exclusively reserved for sponsored ADRs but also allow

 the foreign issuer to raise capital from the trading of the securities in U.S. markets. Id. The foreign

 issuer must register the ADRs on a registration statement and make annual reports on Form 20-F.

 Id.

        Volkswagen ADRs currently trade as unsponsored Level 1 ADRs in an OTC market after

 having been registered with the SEC on Form F-6 by four depositary institutions: Deutsche Bank

 Trust Company Americas (“Deutsche Bank”), JPMorgan Chase Bank, N.A. (“JPMorgan”), Bank

 of New York Mellon (“BNYM”) and Citibank N.A. (“Citi”). During the Class Period, Lead

 Plaintiff allegedly purchased 8,150 Volkswagen AG ADSs 2 on the OTC market and named



        2
             While there appears to be some observations noted in briefing that Lead Plaintiff
 purchased preferred ADSs and Lead Plaintiff’s PSLRA certification notes that he purchased
 “preferred stock,” it remains unclear whether he purchased ordinary or preferred ADSs. His
 PSLRA certification provides that on March 30, 2021, he purchased Volkswagen ADSs at $38.42
 per share and sold such stock in part on April 1, 2021 for $36.06 per share and on April 12, 2021
 for $34.90 per share. Dkt. 9-2 at 2; Dkt. 9-3 at 2. However, this Court takes judicial notice of the
 fact that the price of preferred stock never reached these figures and instead, these share prices
 appear to align with the price ranges of the ordinary shares. See Dkt. 9-3 at 2 (classifying shares
 purchased by Lead Plaintiff as “VWAGY” which is the ticker for the ordinary shares). Moreover,
                                                   4
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 5 of 61 PageID# 618




 plaintiff Thomas Wells purchased 42 ordinary ADSs on the OTC market (together “Plaintiffs”).

 Dkt. 21 ¶¶ 26, 28-29, 31, 57; id. at 66. 3

                             Events Giving Rise to Lead Plaintiff’s Claims

         This dispute comes on the heels of Volkswagen AG having paid over $35 billion in fines

 in connection with what has been dubbed “Dieselgate”—in which Volkswagen, beginning in

 September of 2015, “intentionally installed illegal software in its vehicles to cheat diesel emissions

 tests.” Dkt. 21 ¶ 2. Until 2018, Volkswagen AG had sponsored ADR programs with U.S.

 depositary banks but on August 13, 2018, it terminated its sponsored ADR programs. Id. ¶ 53.

 Nevertheless, Volkswagen AG’s ordinary shares continued to trade in the United States through

 unsponsored ADR programs initiated by the four U.S. aforementioned banks: Deutsche Bank;

 JPMorgan; BNYM; and Citi.           Plaintiffs allege that these depositary banks did not offer

 unsponsored ADSs “without the express or implied consent” of Volkswagen AG. Id. Specifically,

 Plaintiffs allege that the SEC provides foreign issuers like Volkswagen AG the opportunity to

 object to the establishment of an unsponsored ADR program, and Volkswagen AG did not

 expressly object to any of the programs. Plaintiffs further allege that at least one of the banks has

 sought affirmative consent from an issuer to jumpstart an unsponsored ADR program as an

 industry practice. Id. ¶¶ 65, 67 (citing Letter from Edwin Reyes, Managing Director Deutsche

 Bank Trust Company Americas, to Nancy M. Morris, SEC Secretary, at 4 (April 21, 2008),

 https://tinyurl.com/2khxbark (“DB Comment Letter”)).




 the Amended Complaint makes no mention that Lead Plaintiff purchased preferred stock. This
 Court addresses the implications of this confusion infra.
         3
             The initial named plaintiff, Betty Jo Pheiffer, purchased 411 ordinary ADSs. Dkt. 1-2
 at 3.
                                                   5
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 6 of 61 PageID# 619




        In August 2020, five years after “Dieselgate,” Defendant Keogh discussed the Company’s

 efforts to “win [customers] back,” not with “a token press release or a news article” but by “proving

 to them that we’re a good company, that we’re doing the right thing,” in order to “be a well-liked

 and well-trusted brand.” Id. ¶ 81. That year, the Company launched the ID.3, a passenger car and

 the first model to utilize its Modular Electric Drive Toolkit. Id. ¶ 89. Electric vehicle (“EV”) sales

 represented 8.8% of VWGoA’s total sales in North America. Id. ¶ 90. In a 2020 letter to

 Volkswagen shareholders, the CEO of Volkswagen AG, Herbert Diess, emphasized the

 Company’s anticipated production of the ID.4 electric SUV beginning in 2022 and its focus on

 delivering more EVs to customers. Id. ¶ 87. That letter also dedicated an entire page to the

 statement “Data and electricity are driving us now.” Id.

        Plaintiffs allege that following apparent lackluster positioning in the North American EV

 market, the Company ramped up its competitive marketing with Tesla. For instance, in September

 of 2020, Defendant Keogh addressed Tesla in an interview with the Wall Street Journal: “Do we

 have the exact range of Tesla? No, but we have a better price point.” Id. ¶ 92 (quoting William

 Boston, “Volkswagen Takes Aim at Tesla with Electric ID.4 SUV,” Wall Street Journal (Sept. 23,

 2020)). And on March 15, 2021—two weeks prior to its anticipated U.S.-launch of the ID.4—

 Volkswagen held a “Power Day” event allegedly meant to mimic Tesla’s “Battery Day” in which

 the Company outlined its competition strategy with Tesla. Id. ¶ 93. Diess also “enthusiastically”

 marketed the Company’s EV plans over Twitter in an effort to compete with Elon Musk, the rival

 CEO of Tesla. Id. ¶ 96.

        Following the “Power Day” event, on March 16, 2021, VWGoA announced the arrival of

 the ID.4 to the United States:

        [T]his month marks a major milestone in Volkswagen’s story: the arrival of the
        ID.4, the company’s first long-range electric SUV in dealers across America. Just

                                                   6
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 7 of 61 PageID# 620




        as electric vehicles will transform the way we drive, Volkswagen has refreshed the
        way it sells vehicles to embrace a more sustainable future…‘The launch of the ID.4
        represents a huge inflection point for the Volkswagen Brand, and its foray into
        becoming a major player in the electric vehicle space’, said Tyler Olson, EV sales
        strategy and dealer development head for Volkswagen of America.

 Id. ¶ 105. In a March 17, 2021 interview, Diess highlighted the need for Volkswagen “to earn the

 trust of the customer” in light of the need “to manage this change” in EV production. Id. ¶ 99.

        On March 29, 2021, just over three months after General Motors announced it would

 change its corporate logo from “GM” to “gm” with a new shape and color scheme to emphasize

 its new marketing strategy to sell EVs, id. ¶ 103, VWGoA published on its website a press release

 marked as “draft” announcing it would be changing its name to “Voltswagen.” Id. ¶ 106. The

 announcement indicated that it expected the name change to take effect in May. Id. ¶ 108. The

 draft press release was dated April 29, 2021 and remained on the Company’s website for

 approximately one hour before it disappeared.           Id.   But many news outlets, including the

 Associated Press, USA Today, CNBC, and the Washington Post became aware of the release and

 reported on the name change. Id. CNBC’s article confirmed the authenticity of the release with

 “[a] person familiar with the company’s plans.” Id. ¶ 108. So did the Associated Press. Id. ¶ 112

 (“AP spokesperson Lauren Easton confirmed that the Associated Press was repeatedly assured by

 Volkswagen that its U.S. subsidiary planned a name change.)(internal quotation marks and citation

 omitted). The Associated Press described the release as “premature” and linked its timing to the

 fact that VWGoA had begun taking reservations for the newly announced ID.4—the “only new

 electric model sold in the United States.” Id. ¶ 111.

        The next day, VWGoA published another press release entitled “Voltswagen: a new name

 for a new era of e-mobility” again announcing the name change—this time dated March 30,

 2021—and confirming the name change would begin in “May 2021.” Id. ¶ 113. This time, the



                                                  7
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 8 of 61 PageID# 621




 release appeared complete after CNBC had reported the draft release “was incomplete, citing the

 need for an additional quote and photography from the automaker’s plant in Chattanooga,

 Tennessee.” Id. ¶¶ 108, 113. In that announcement, the Company presented a new logo and an

 explanation for the change:

        More than a name change, “Voltswagen” is a public declaration of the company’s
        future-forward investment in e-mobility. By definition, Volts are the derived units
        for electric potential between two points. The new name and branding symbolize
        the highly-charged forward momentum Voltswagen has put in motion, pursuing a
        goal of moving all people point-to-point with EVs.

        “We might be changing out our K for a T, but what we aren't changing is this
        brand’s commitment to making best-in-class vehicles for drivers and people
        everywhere,” said Scott Keogh, president and CEO of Voltswagen of America.
        “The idea of a ‘people’s car’ is the very fabric of our being. We have said, from the
        beginning of our shift to an electric future, that we will build EVs for the millions,
        not just millionaires. This name change signifies a nod to our past as the peoples’
        car and our firm belief that our future is in being the peoples’ electric car.”

        This month, the company welcomes the arrival of ID.4, its first long-range all-
        electric, zero direct emission SUV, in dealerships across America. As well as being
        designed to compete with mainstream compact SUVs, the ID.4 is the first product
        to be sold nationwide that confirms the company’s commitment to sustainable
        mobility.

        That’s been the mission since the larger Volkswagen Group became the first major
        automaker to support the goals of the Paris Climate Agreement, with an added
        target of a 30 percent reduction in the company’s carbon footprint by 2025, and net-
        carbon neutrality by 2050. A resulting commitment to sell one million EVs
        worldwide by 2025 will see more than 70 electric models launched across the VW
        group brands by 2029.

        With the introduction of the “Drive Bigger” brand platform in 2019, Volkswagen
        of America, as it was then, communicated a long-term vision of striving for a higher
        purpose, challenging us all to move beyond self-interest and to consider being part
        of something bigger. The company further signaled its intentions by becoming one
        of five brands that signed up in 2019 to California’s proposed fuel economy
        regulations, which aim to impose stricter CO2 standards in an effort to help combat
        climate change.

        Voltswagen means thinking big, acting boldly and leading progress. In 1955
        Volkswagen of America was founded, and from the beginning the company dared
        to be different from other automakers. VW first won the love the American public

                                                  8
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 9 of 61 PageID# 622




        with the Type 1 Beetle, which eventually overtook the Ford Model T as the world’s
        best-selling car, which more than 23 million sold. By establishing a storied legacy
        of breaking from convention and emphasizing a true driver-vehicle connection,
        Volkswagen of America in its time has become synonymous with humility, wit and
        humor, while the actual namesake translates to “the people’s car.”

 Id. ¶¶ 113, 151.     The announcement also described its future business plans, including

 implementing the name change:

        As our newly launched ID.4 campaign demonstrates, the humanity at the core of
        this brand remains its enduring legacy,” said Kimberley Gardiner, senior vice
        president, Voltswagen of America brand marketing. “The tone of Voltswagen will
        be a consistent thread between the branded communications for our growing
        electric fleet to our gas vehicles. Over the course of the next few months, you will
        see the brand transition at all consumer touch points. This is an exciting moment
        for us, and we have been working through every avenue to make the transition clear,
        consistent, seamless and fun for all.”

        The company will preserve elements of Volkswagen’s heritage by retaining its
        iconic VW Dark Blue color for gas-powered vehicles and Light Blue to
        differentiate the new, EV-centric branding. Starting today, new branding will roll
        out across all of the company’s advertising, website and social media channels.
        Moving forward, “Voltswagen” will be placed as an exterior badge on all EV
        models with gas vehicles sporting the VW emblem only. Exterior and interior
        signage will soon roll out to all Voltswagen properties and dealerships across the
        US.

 Id. To complement the press release, Volkswagen also tweeted the same day:

        We know, 66 is an unusual age to change your name, but we’ve always been young
        at heart. Introducing Voltswagen. Similar to Volkswagen, but with a renewed focus
        on electric driving. Starting with our all-new, all-electric SUV the ID.4 – available
        today. #Voltswagen #ID.4.

 Id. ¶¶ 114, 151. A video animating the “k” in “Volkswagen” transforming into a “t” also

 accompanied the tweet. Id.

        Again, early in the day, reporters confirmed with Volkswagen the authenticity of the name

 change. The Guardian wrote “With the cat out of the bag, VW was forced to admit the story was

 true.” Id. ¶ 116. The Associated Press also confirmed with Defendant Gillies that the Company




                                                 9
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 10 of 61 PageID# 623




  seriously intended the name change. Id. ¶¶ 123, 154; see also id. ¶ 125 (automotive publication

  Carscoops allegedly confirmed the same with the Company).

         The March 30 press release remained on the Company’s website until after market close

  on March 30, 2021, at which time the Company removed the statement. After the press release

  was removed, the Wall Street Journal reported that Volkswagen intended the name change to be

  “an April Fools’ gag.” Id. ¶ 121. The Wall Street Journal quoted a Volkswagen spokesperson

  based in Germany as saying “we didn’t mean to mislead anyone. The whole thing is just a

  marketing action to get people talking.” Id. ¶ 123.

         Plaintiffs allege that following both the March 29 and March 30 press releases,

  Volkswagen’s ADS price enjoyed a “dramatic increase.” Id. ¶ 120. One securities analyst issued

  a “bullish research note” in response, stating “we believe the name change underscores VW’s clear

  commitment to its EV brand and massive EV endeavors over the coming years.” Id. ¶¶ 11, 118.

  A member of Tesla’s board of directors also lauded the name change in a tweet, calling it “more

  than changing corporate logo, e.g., GM” and that Volkswagen was “absolutely serious” in

  “show[ing] their commitment to electric.” Id. ¶¶ 11, 119. From the time CNBC first reported the

  name change on March 29 until Volkswagen retracted the name change, Volkswagen ADSs

  increased over 10%. Id. Over the next two trading days, Volkswagen ADSs representing common

  shares fell $2.17, over 5%, from its $37.75 closing price on March 30. Id. ¶¶ 136, 155.

         The Amended Complaint further alleges that Volkswagen reaped considerable “free

  publicity” for the ID.4 from the name change. Id. ¶¶ 139, 152. For instance, Forbes reported that

  the new name garnered 6,045 mentions across various major social media platforms, reaching 150

  million people by the evening of April 1 and equating to “millions of dollars in publicity.” Id. ¶

  137. Defendant Keogh commented that “the upside is, obviously, the social media response has



                                                  10
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 11 of 61 PageID# 624




  been the biggest numbers we’ve ever seen.” Id. ¶¶ 138, 160. Moreover, Volkswagen allegedly

  did not incur costs typically associated with corporate name changes such as “legal costs,

  marketing and advertising costs, implementation costs and the costs of new branded materials.”

  Id. ¶ 140.

         The name change retraction also drew ire from the public, including from multiple law

  professors, journalists, and a former SEC chief economist, due to the perceived seriousness of

  rebranding. Id. ¶¶ 122-35. On April 29, 2021, Reuters reported that the SEC had begun

  investigating VWGoA around the events leading up to and following the name change

  announcement and a German outlet confirmed the SEC launched the investigation in “early April”

  of 2021. Id. ¶ 143.

         The gravamen of Plaitiff’s complaint is that Defendants intentionally issued false and

  misleading statements regarding Volkswagen’s name change and that the alleged deception caused

  losses for investors holding ADSs in Volkswagen when the Company reneged on the

  announcement. In bringing a 10b-5 action, Plaintiffs allege Defendants “knew at all times that the

  Company had no plans to change its name to Voltswagen.” Id. ¶ 157. Defendants’ conduct was

  allegedly motivated by their desire to promote the ID.4 “without having to incur the costs and risks

  associated with rebranding” in its competition with Tesla for North American market share. Id.

  ¶¶ 158-59. Lastly, Plaintiffs allege that Defendants’ conduct, in light of their stated commitment

  to rebuilding trust with investors and consumers following “Dieselgate,” was reckless as “an

  extreme departure from the standards of ordinary care” and the risk of misleading investors and

  consumers was “so obvious that Defendants must have been aware of it.” Id. ¶ 161.




                                                  11
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 12 of 61 PageID# 625




                                      B. Procedural Background

         On January 14, 2022, initial named Plaintiff Betty Jo Pheiffer filed a Complaint against

  Defendants. Dkt. 1. On March 15, 2022, lead Plaintiff Laszlo Rozsavolgyi filed a motion to be

  appointed lead plaintiff and to appoint lead counsel. Dkt. 7. This Court appointed Rozavolgvi as

  Lead Plaintiff on March 30, 2022. Dkt. 16. In accordance with the Court’s briefing order issued

  on April 11, 2022, Lead Plaintiff filed the Amended Complaint on June 3, 2022. Dkt. Nos. 20;

  21.   On August 2, 2022, Defendants filed a Motion to Dismiss the Amended Complaint

  accompanied by a supporting memorandum. Dkt. Nos. 22; 23. Lead Plaintiff filed his opposition

  brief on October 3, 2022. Dkt. 33. Defendants filed their reply brief on November 17, 2022. Dkt.

  36.

                                    II. STANDARD OF REVIEW

         A Rule 12(b)(6) motion tests the sufficiency of a complaint. Brockington v. Boykins, 637

  F.3d 503, 506 (4th Cir. 2011). “[T]he reviewing court must determine whether the complaint

  alleges sufficient facts ‘to raise a right to relief above the speculative level[,]’” and dismissal is

  appropriate only if the well-pleaded facts in the complaint “state a claim that is plausible on its

  face.” Goldfarb v. Mayor & City Council of Baltimore, 791 F.3d 500, 508 (4th Cir. 2015) (quoting

  Twombly, 550 U.S. at 555, 570 (2007)). A claim is facially plausible “when the plaintiff pleads

  factual content that allows the court to draw the reasonable inference that the defendant is liable

  for the misconduct alleged.” Iqbal, 556 U.S. at 678 (2009) (citing Twombly, 550 U.S. at 556).

         At the motion-to-dismiss stage, a plaintiff need only “allege facts sufficient to state all the

  elements of [his] claim,” Bass v. E.I. DuPont de Nemours & Co., 324 F.3d 761, 765 (4th Cir.

  2003), and “the district court must ‘accept as true all well-pled facts in the complaint and construe

  them in the light most favorable to [the plaintiff].’” Dao v. Faustin, 402 F. Supp. 3d 308, 315



                                                   12
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 13 of 61 PageID# 626




  (E.D. Va. 2019) (quoting United States v. Triple Canopy, Inc., 775 F.3d 628, 632 n.1 (4th Cir.

  2015)). Still, “[c]onclusory allegations regarding the legal effect of the facts alleged” need not be

  accepted. Labram v. Havel, 43 F.3d 918, 921 (4th Cir. 1995); see also E. Shore Mkts., Inc. v. J.D.

  Assoc. Ltd. P’ship, 213 F.3d 175, 180 (4th Cir. 2000) (“[W]hile we must take the facts in the light

  most favorable to the plaintiff, we need not accept the legal conclusions drawn from the facts . . .

  Similarly, we need not accept as true unwarranted inferences, unreasonable conclusions, or

  arguments.”). And “[g]enerally, courts may not look beyond the four corners of the complaint in

  evaluating a Rule 12(b)(6) motion.” Linlor v. Polson, 263 F. Supp. 3d 613, 618 (E.D. Va. 2017)

  (citing Goldfarb, 791 F.3d at 508). However the Court may also consider, without converting the

  motion into one for summary judgment, “matters incorporated by reference or integral to the claim,

  items subject to judicial notice, matters of public record . . . items appearing in the record of the

  case, and exhibits attached to the complaint whose authenticity is unquestioned.” 5B Wright &

  Miller, Federal Practice & Proc. § 1357, at 375-76; Tellabs, Inc. v. Makor Issues & Rights, Ltd.,

  551 U.S. 308, 322-23 (2007) (citing id. in the context of a securities fraud case brought under §

  10(b)).

            When a plaintiff alleges a claim under § 10(b) of the Securities Exchange Act of 1934

  (“Exchange Act”) and SEC Rule 10b-5, 17 C.F.R. § 240.10b-5 (“Rule 10b-5”), that claim faces a

  heightened pleading standard imposed by Congress and Federal Rule of Civil Procedure 9. “To

  survive a motion to dismiss, private securities fraud plaintiffs must clear the hurdle of the Private

  Securities Litigation Reform Act of 1995 (‘PSLRA’),” Matrix Cap. Mgmt. Fund, LP v.

  BearingPoint, Inc., 576 F.3d 172, 181 (4th Cir. 2009). In making a private securities fraud claim,

  a plaintiff must allege that “(1) the defendant[s] made a false statement or omission of material




                                                   13
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 14 of 61 PageID# 627




  fact (2) with scienter (3) upon which the plaintiff justifiably relied (4) that proximately caused the

  plaintiff’s damages.” Hillson Partners Ltd. P’ship v. Adage, Inc., 42 F.3d 204, 208 (4th Cir. 1994).

         As to the first element, in addition to requiring that the alleged facts meet the plausibility

  standard to survive a motion to dismiss, the PSLRA demands that private securities fraud plaintiffs

  allege: “(1) each misleading statement; (2) the reasons each statement was misleading; and (3)

  when an allegation regarding such a statement is based on information and belief, ‘with

  particularity all facts on which that belief is formed.’” Teachers’ Retirement Sys. of LA v. Hunter,

  477 F.3d 162, 173 (4th Cir. 2007) (quoting 15 U.S.C. § 78u-4(b)(1)). Ultimately, the Court “need

  only determine . . . whether [the] complaint alleges sufficient facts upon which a reasonable belief

  can be formed that [the defendants’] representations or omissions were misleading.” Id. As to the

  second element, the PSLRA requires the plaintiff to plead sufficient facts to raise a “strong

  inference of scienter.” Id. (citing § 78u-4(b)).

         Courts analyze the remaining two elements of a securities fraud claim under the traditional

  pleading rules cabined in Federal Rules of Civil Procedure 8 and 9. These “fraud-based claims

  must satisfy Rule 9(b)’s heightened pleading standard.” United States ex rel. Grant v. United

  Airlines, Inc., 912 F.3d 190, 196 (4th Cir. 2018) (citing United States ex rel. Nathan v. Takeda

  Pharm. N. Am., Inc., 707 F.3d 451, 455-56 (4th Cir. 2013)). “Rule 9(b) requires that ‘a party must

  state with particularity the circumstances constituting fraud or mistake.’” Id. (quoting Fed. R. Civ.

  P. 9(b)). This standard contemplates that the complaint must “(1) specify the statements that the

  plaintiff contends were fraudulent, (2) identify the speaker, (3) state where and when the statements

  were made, and (4) explain why the statements were fraudulent.” Anschutz Corp. v. Merrill Lynch

  & Co., 690 F.3d 98, 108 (2d Cir. 2012)). Further, when a plaintiff fails to plead fraud with

  particularity under Rule 9(b)’s pleading requirements, the omission “is treated as a failure to state



                                                     14
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 15 of 61 PageID# 628




  a claim under Rule 12(b)(6).” Harrison v. Westinghouse Savanna River Co., 176 F.3d 776, 783

  n.5 (4th Cir. 1999).

                                           III. ANALYSIS

         In evaluating the elements of Plaintiffs’ claims against Defendants, the Court takes judicial

  notice of the stock prices between the time shortly before CNBC first reported on the name change

  and the period shortly after Volkswagen confirmed to the public it would not be changing its name,

  without subjecting the instant Motion to summary judgment review. See Greenhouse v. MCG

  Cap. Corp., 392 F.3d 650, 655 n.4 (4th Cir. 2004) ((“We note that we, as well as the district court,

  may take judicial notice of published stock prices without converting a motion to dismiss into a

  motion for summary judgment.” (citing Ganino v. Citizens Utilities Co., 228 F.3d 154, 166 n.8 (2d

  Cir. 2000))). Defendants provide these prices in Exhibit 1 of their brief in support of the Motion.

  See Dkt. 23-1 at 1-3.

                          A. Applicability of § 10(b) to Unsponsored ADRs

         Relying on Morrison v. Nat’l Australia Bank Ltd., 561 U.S. 247 (2010), Defendants begin

  by arguing that § 10(b) does not reach the unsponsored ADRs held by Plaintiffs because those

  securities do not trade on domestic exchanges and are the product of predominantly foreign

  transactions. And even if the securities could qualify as domestic, Defendants suggest that

  VWGoA’s statements were not made “in connection with” Plaintiffs’ transaction in ADRs because

  those ADRs are unsponsored and therefore too far removed from having a “transactional nexus”

  with Volkswagen AG’s publicly-listed German shares.

         Plaintiffs counter that a transaction, for purposes of the Exchange Act, may be deemed

  “domestic” if a party becomes irrevocably committed to the transaction, or title changes, in the

  United States. Plaintiffs argue that each major step involved in obtaining the ADRs occurred in



                                                  15
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 16 of 61 PageID# 629




  the United States through U.S. institutions, thereby establishing that title changed in the United

  States. Plaintiffs further maintain that Defendants rely on a minority view reading of Morrison in

  Parkcentral Glob. Hub Ltd. v. Porsche Auto. Holdings SE, 763 F.3d 198 (2d Cir. 2014) and that

  the facts here distinguish that opinion. Lastly, Plaintiffs argue that § 10(b)’s “in connection with”

  requirement should be applied broadly and that false statements contained in press releases are

  actionable under Fourth Circuit precedent.

         Section 10(b) in relevant part provides:

         It shall be unlawful for any person, directly or indirectly, by the use of any means
         or instrumentality of interstate commerce or of the mails, or of any facility of any
         national securities exchange— . . . [t]o use or employ, in connection with the
         purchase or sale of any security registered on a national securities exchange or any
         security not so registered, . . . any manipulative or deceptive device or contrivance
         in contravention of such rules and regulations as the [SEC] may prescribe.

  15 U.S.C. § 78j(b). To enforce § 10(b), the SEC enacted Rule 10b-5, which specifies the breed of

  behavior that may be deemed in violation of the United States securities laws:

         It shall be unlawful for any person, directly or indirectly, by the use of any means
         or instrumentality of interstate commerce or of the mails, or of any facility of any
         national securities exchange

         (a) [t]o employ any device, scheme, or artifice to defraud,

         (b) [t]o make any untrue statement of a material fact or to omit to state a material
         fact necessary in order to make the statements made, in light of the circumstances
         under which they were made, not misleading, or

         (c) [t]o engage in any act, practice, or course of business which operates or would
         operate as a fraud or deceit upon any person,

         in connection with the purchase or sale of any security.

  17 C.F.R. § 240.10b-5. “Rule 10b-5 . . . was promulgated under § 10(b), and ‘does not extend

  beyond conduct encompassed by § 10(b)’s prohibition.’” Morrison, 561 U.S. at 261-62 (quoting




                                                    16
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 17 of 61 PageID# 630




  United States v. O’Hagan, 521 U.S. 642, 651 (1997)). An inquiry into “what conduct § 10(b)

  reaches . . . is a merits question” as opposed to a question of subject-matter jurisdiction. Id. at 254.

          In Morrison, the Supreme Court replaced the deeply entrenched and convoluted “conduct-

  and-effects test” with a bright-line rule for assessing whether the limbs of § 10(b) reach a given

  set of allegations. 561 U.S. at 267. 4 Applying the canon or presumption against extraterritorial

  application of a statute, Justice Scalia, writing for the majority in Morrison, held that § 10(b) covers

  “only transactions in securities listed on domestic exchanges, and domestic transactions in other

  securities.” Id. As to the first prong of Morrison, the Exchange Act distinguishes a securities

  transaction made in an OTC market in the United States from a transaction made on a “securities

  exchange.” See Securities Exchange Act of 1934, 48 Stat. 881, as amended, 15 U.S.C. § 78a et

  seq. (describing that the Exchange Act “provide[s] for the regulation of securities exchanges and

  of over-the-counter markets . . . [and] to prevent inequitable and unfair practices on such exchanges

  and markets” (emphases added)); United States v. Georgiou, 777 F.3d 125, 134-35 (3d Cir. 2015)

  (reasoning that because “national securities exchange” is explicitly listed in § 10(b) but the OTC




          4
              The Supreme Court issued its Morrison decision on June 24, 2010 and Congress
  amended, through the Dodd-Frank Act (“Dodd-Frank”), the extraterritorial reach of § 10(b) on
  July 21, 2010. The new amendment extended the SEC’s reach abroad “when a version of the
  conduct-and-effects test is met.” SEC v. Scoville, 913 F.3d 1204, 1217-18 (10th Cir. 2019). Courts
  agree that given the tight timeline between the publication of Morrison and the enactment of Dodd-
  Frank, “the more reasonable assumption is that Morrison was issued too late in the legislative
  process to reasonably permit Congress to react to it.” Id. at 1218. Regardless, the conduct-and-
  effects test applies solely to SEC civil enforcement actions and not private suits like the instant
  case. See 15 U.S.C. § 77v(c) (expanding jurisdiction under § 10(b) for extraterritorial conduct in
  “an action or proceeding brought or instituted by the Commission or the United States”).
  Therefore, this amendment remains in equilibrium with Morrison’s application to private suits.
  See Morrison, 561 U.S. at 285 n.12 (Stevens, J., concurring) (“The Court’s opinion does not,
  however, foreclose the Commission from bringing enforcement actions in additional
  circumstances, as no issue concerning the Commission’s authority is presented in this case. The
  Commission’s enforcement proceedings not only differ from private § 10(b) actions in numerous
  potentially relevant respects, but they also pose a lesser threat to international comity.”).
                                                    17
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 18 of 61 PageID# 631




  markets are excluded, OTC exchanges “are not national securities exchanges within the scope of

  Morrison”).

         Courts interpreting the second prong of Morrison look for “allege[d] facts indicating that

  irrevocable liability was incurred or that title was transferred within the United States.” Absolute

  Activist Value Master Fund Ltd. v. Ficeto, 677 F.3d 60, 62 (2d Cir. 2012). To indicate “the point

  at which the parties become irrevocably bound, ” the inquiry turns on “where, physically, the

  purchaser or seller committed him or herself, not where, as a matter of law, a contract is said to

  have been executed.” United States v. Vilar, 729 F.3d 62, 77 n.11 (2d Cir. 2013); Absolute Activist,

  677 F.3d at 68. However, a circuit split has arisen over whether a domestic transaction is both

  necessary and sufficient to satisfy Morrison’s second prong or if a domestic transaction must also

  not appear “predominantly foreign.”

         In Parkcentral, the Second Circuit segregated securities fraud claims deemed

  “predominantly foreign” from transactions that would otherwise qualify as “domestic transactions

  in other securities,” observing that “a rule making [§ 10(b)] applicable whenever the plaintiff’s

  suit is predicated on a domestic transaction, regardless of the foreignness of the facts constituting

  the defendant’s alleged violation, would seriously undermine Morrison’s insistence that § 10(b)

  has no extraterritorial application.” 763 F.3d at 215-17. Although the Parkcentral analysis does

  not “purport to proffer a test that will reliably determine when a particular invocation of § 10(b)

  will be deemed appropriately domestic or impermissibly extraterritorial,” it considered (1) the

  potential conflict with foreign laws and procedures in applying § 10(b); (2) the geographic location

  where the alleged statements were made; and (3) whether foreign authorities have already taken

  the lead in investigating the matter. Id. at 216. The First, Third, and Ninth Circuits have either

  explicitly or implicitly rejected that qualification as the product of “an open-ended, under-defined



                                                   18
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 19 of 61 PageID# 632




  multi-factor test, akin to the vague and unpredictable tests that Morrison criticized and endeavored

  to replace with a ‘clear,’ administrable rule.” Stoyas v. Toshiba Corp., 896 F.3d 933, 950 (9th Cir.

  2018) (citation omitted) (quoting Morrison, 561 U.S. at 257-59, 269-70); see also SEC v. Morrone,

  997 F.3d 52, 60 (1st Cir. 2021) (explicit rejection of Parkcentral “predominantly foreign”

  invention) (“Toshiba I”); Georgiou, 777 F.3d at 137 (solely examining whether “the purchase or

  sale of any [] security in the United States” had occurred for purposes of satisfying the second

  prong of Morrison). 5 Despite the tension between Parkcentral and other courts’ applications of

  Morrison, the Supreme Court elected not to grant a writ of certiorari in an appeal from the Ninth

  Circuit on this very issue. 6 See Toshiba Corp. v. Auto. Indus. Pension Tr. Fund, 139 S. Ct. 2766

  (2019) (cert. denied) (“Toshiba Cert Petition”).

                   1. “Transactions in Securities Listed on Domestic Exchanges”

         Plaintiffs do not argue the unsponsored ADRs are listed on domestic exchanges. Given

  there is no authority suggesting that securities traded on U.S. OTC markets qualify as “transactions



         5
            Prior to Parkcentral, the Eleventh Circuit adopted the “irrevocable liability” test and has
  yet to disturb that approach in the wake of Parkcentral. See Quail Cruises Ship Mgmt. Ltd. v.
  Agencia de Viagens, 645 F.3d 1307, 1310-11 (11th Cir. 2011). This Court is unaware of any other
  circuit courts of appeal that have addressed Parkcentral’s “predominantly foreign” principle,
  including the Fourth Circuit. Nor is this Court aware of any other district courts sitting in this
  Circuit that have encountered this question.
         6
              Contrary to the respondent’s position in the Toshiba Cert Petition, see Brief in
  Opposition, Toshiba Corp. v. Auto. Indus. Pension Tr. Fund, 2018 WL 6584997, at *11 (S. Ct.
  Dec. 12, 2018), the Second Circuit did not depart from the Parkcentral test in Myn-Uk Choi v.
  Tower Res. Cap. LLC, 890 F.3d 60 (2d Cir. 2018). There, the court noted that “Morrison clearly
  provided that the ‘domestic transaction’ prong is an independent and sufficient basis for
  application of the Securities Exchange Act to purportedly foreign conduct.” Id. at 67. But that
  statement merely relates to the anodyne view that Morrison permits § 10(b) to apply either to a
  security listed on a domestic exchange or to an unlisted security otherwise purchased or sold in the
  United States. Id. And if there were any question that the Second Circuit did not treat the
  Parkcentral test as gospel, the court quashed that concern in opinions following the Toshiba
  Appeal. Laydon v. Coöperatieve Rabobank U.A., 51 F.4th 476, 486 (2d Cir. 2022); Cavello Bay
  Reinsurance Ltd. v. Shubin Stein, 986 F.3d 161, 165-66 (2d Cir. 2021).
                                                     19
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 20 of 61 PageID# 633




  in securities listed on domestic exchanges,” for purposes of the Exchange Act, this Court adopts

  the more salient holdings of the Ninth and Third Circuit. Georgiou, 777 F.3d at 134-35; see also

  Toshiba I, 896 F.3d at 945 (“The over-the-counter market on which Toshiba [unsponsored] ADRs

  trade is simply not an ‘exchange’ under the Exchange Act.”); In re Volkswagen “Clean Diesel”

  Marketing, Sales Practices, and Products Liability Litig., No. 3:15-md-02672-CRB, 2017 WL

  66281, at *4 (N.D. Cal. Jan. 4, 2017) (“The OTC market on which the Volkswagen ADRs trade is

  not a ‘domestic exchange’ and thus the first Morrison prong is not satisfied.”). Because Plaintiffs

  allege that the ADRs are traded OTC in the United States, Dkt. 21 ¶¶ 26, 28-29, 31, such securities

  do not fall within the first prong of Morrison. This Court therefore looks to whether the ADR

  transactions satisfy the second prong.

                            2. “Domestic transactions in other securities”

         It is this Court’s view that the Supreme Court’s holding in Morrison provides judges with

  a workable, consistent test for whether to apply § 10(b) to a particular securities transaction:

  “Section 10(b) reaches . . . the purchase or sale of a security listed on an American stock exchange,

  and the purchase or sale of any other security in the United States.” 561 U.S. at 273. Morrison

  rejected prior long-standing Second Circuit precedent “that ha[d] produced a collection of tests for

  divining what Congress would have wanted, complex in formulation and unpredictable in

  application.” Id. at 255-56. Instead, the Court emphasized a simplified inquiry, that under § 10(b),

  “it is the foreign location of the transaction that establishes (or reflects the presumption of) the

  Act’s inapplicability, absent regulations by the [SEC].” Id. at 268.

         The additional “predominately foreign” framework sketched in Parkcentral undermines

  the purpose of Morrison by muddying the “clear test that will avoid” “interference with foreign

  securities regulation”—“whether the purchase or sale is made in the United States.” Id. at 269-70.



                                                   20
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 21 of 61 PageID# 634




  It effectively undermines the Morrison holding by using the same “divination” theory Morrison

  denounced. Indeed, the Supreme Court crafted its holding to comfortably address the concerns

  from amici of “interference with foreign securities regulation” in the application of § 10(b). 7 Id.

  at 269. Rather than fixating on the reach of § 10(b), this Court finds the rule contains a limiting

  principle which ensures that securities in which title passes abroad falls presumptively outside the

  contours of the statute for private plaintiff securities litigation. As the SEC itself opined as amicus

  in the Toshiba Appeal, the “Parkcentral court relied on amorphous and atextual presumptions

  about Congress’s intent” while acknowledging that “its approach would not ‘reliably determine

  when a particular invocation of § 10(b) will be deemed appropriately domestic or impermissibly

  extraterritorial.” Brief for the United States as Amicus Curiae, Toshiba Corp. v. Auto. Indus.

  Pension Tr. Fund, 2019 WL 2185128, at **14-15 (S. Ct. 2019) (“SEC Brief”).

         This Court confirms these principles and relies solely on the “irrevocable liability” or “title

  transfer” standard long embraced by all circuit courts following Morrison. Under Absolute

  Activist, if a security is not traded on a United States exchange (as is the case here), the plaintiff

  must prove, as to the relevant securities transaction either: (1) “that title to the shares was

  transferred within the United States[;]” (2) “that the purchaser incurred irrevocable liability within



         7
            This Court full-well comprehends Defendants’ concerns over the potentially far-reaching
  application of § 10(b) under the second prong of the Morrison rule, but this Court will not affront
  its obligation to avoid playing policymaker and to defer to the Supreme Court’s interpretation of
  the statute. Regardless, any concern expressed by the court in Parkcentral or by Defendants over
  the application of § 10(b) effectively dragging foreign issuers with no connection to the United
  States into U.S. courts is dispelled by the reality that a foreign issuer with no transactional nexus
  to the United States may move to dismiss a 10(b) suit for lack of personal jurisdiction. Moreover,
  Congress expressly extended the reach of SEC civil enforcement through a conduct and effects
  mechanism now housed in § 10(b) following the Dodd-Frank amendment. By opening that door,
  Congress has contemplated the concern that § 10(b) enforcement could conflict with the laws
  enforced by an issuer’s foreign home jurisdiction but nonetheless empowered the SEC to enforce
  its provisions with respect to certain transactions that could theoretically be deemed
  “predominantly foreign” under Parkcentral.
                                                    21
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 22 of 61 PageID# 635




  the United States to take and pay for a security,” or (3) “that the seller incurred irrevocable liability

  within the United States to deliver a security.” 677 F.3d at 68-69. Where the relevant security’s

  value inextricably depends on the movement in value of an underlying security, courts apply the

  Absolute Activist test to that reference security as the guiding source of the irrevocability analysis.

  See, e.g., Stoyas v. Toshiba Corp., No. 2:15-CV-04194 DDP-JC, 2022 WL 220920, at *5 (C.D.

  Cal. Jan. 25, 2022) (“Toshiba III”).

          As part of that inquiry, courts ask if the broker placing the ADR order on behalf of an

  investor directly caused a U.S. depositary bank to create ADRs for distribution—i.e. purchase the

  underlying foreign-listed securities abroad before establishing the ADR program on a domestic

  trading market—or if the ADRs already existed on a domestic OTC market. 8 If the latter is the

  case, those courts have been unwilling to apply § 10(b). Other courts focus on the direct security



      8
         On summary judgment, the district court in Toshiba III found that the Morrison purchase or
  sale inquiry turns on the underlying stock transaction supporting the unsponsored “Level I” ADRs.
  Toshiba III, 2022 WL 220920, at **3-5. It reasoned that because the New York-based bank
  purchasing the unsponsored ADRs did so directly from the Japanese stock market only once it had
  received direction from the broker-dealer to place the order, the purchase and sale of the underlying
  common stock occurred abroad. As such, the holding effectively prevents the purchase of
  unlisted—unsponsored or sponsored—ADRs from ever qualifying as a transaction in the United
  States under Morrison if a broker’s order directly causes the creation of new ADRs not already
  trading OTC in the United States. See SEC Investor Bulletin at 2. That approach would also cause
  Morrison’s bright-line rule to run amok because an ADR trading on a listed domestic exchange
  would unquestionably qualify as being subject to § 10(b). See, e.g., In re Vivendi Univ’l, Sec.
  Litig., 765 F. Supp. 2d 512, 529 (S.D.N.Y. 2011) (finding that because sponsored ADRs were
  listed and traded on the New York Stock Exchange, those securities “thereby fall within any
  reading of Morrison”); but see In re Alstrom SA Sec. Litig., 741 F. Supp. 2d 469, 472 (S.D.N.Y.
  2010) (cautioning that Morrison’s first prong be read in context and that a security purchased or
  sold abroad that is also listed on a domestic exchange does not automatically fall under the purview
  of § 10(b)). But under the Toshiba III holding, a listed ADR formed as a result of a broker causing
  a depositary bank to obtain the underlying foreign security abroad from the issuer would
  purportedly fail Morrison. Deciding the reach of § 10(b) based on whether a security had just been
  created or had already been in existence trading on an OTC market seems, to this Court, to be a
  distinction without a meaningful difference and holds no apparent grounding in Morrison.
  Nevertheless, this issue is best left to be addressed at a different procedural stage.

                                                     22
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 23 of 61 PageID# 636




  at issue and whether transfer of title of that security, rather than any underlying reference security,

  occurred within the United States. See, e.g., In re Volkswagen Prods Liability Litig., 2017 WL

  66281, at *6 (acknowledging that, for purposes of satisfying the second prong of Morrison, neither

  party disputed that Volkswagen’s sponsored ADRs, which traded OTC, “constitute domestic

  transactions,” and moving directly on to § 10(b)’s “in connection” inquiry); United States v.

  Martoma, No. 12 CR 973 PGG, 2013 WL 6632676, at *5 (S.D.N.Y. Dec. 17, 2013) (finding

  second prong of Morrison satisfied where “it is undisputed that the [] ADRs at issue were

  traded on the NYSE, which means that the formation of contracts for those trades, the passing

  of title to those securities, and the incurring of liability on the part of sellers and purchasers of

  those ADRs occurred in the United States”).

         To adequately explore and resolve this question, this Court considers the recent Toshiba

  line of case law in the Second Circuit. After Toshiba I, the Second Circuit remanded the case to

  the district court to address whether the second prong of Morrison covered the unsponsored

  ADRs—the same security involved here—at the class certification stage after discovery had been

  conducted. At the motion-to-dismiss stage, the district court determined that unsponsored ADRs

  “issued by” a U.S.-based depositary bank was sufficient to allege the title passed from seller to

  purchaser in a domestic transaction. Stoyas v. Toshiba Corp., 424 F. Supp. 3d 821, 826 (C.D. Cal.

  2020) (“Toshiba II”). “Allegations regarding the location of the broker, the tasks carried out by

  the broker, the placement of the purchase order, the passing of title, and the payment made are

  relevant to the domestic transaction inquiry.” Toshiba II, 424 F. Supp. 3d at 827 (citing Absolute

  Activist, 677 F.3d at 68-70). Only at the motion for class certification stage did the Toshiba district

  court test the validity of plaintiffs’ allegations of domestic title transfer with a factual assessment.

  Compare id. at 828 with Toshiba III, 2022 WL 220920, at **3-5.


                                                    23
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 24 of 61 PageID# 637




         Just as in Toshiba II, this Court finds that, at the motion-to-dismiss stage, the allegations

  made by Plaintiffs here “provide sufficient indicia” that they “incurred irrevocable liability to

  purchase the ADRs in the United States.” Id. Plaintiffs allege that Lead Plaintiff obtained his

  ADRs by directing his Florida-based brokerage to purchase ADSs and that broker then obtained

  ADRs on an OTC market, based in New York, thereby facilitating the transfer of title in the United

  States. Dkt. 21 ¶ 28. Plaintiffs also allege that Plaintiff Wells purchased his ADSs directly from

  an OTC market in New York through his Massachusetts-based broker. Id. ¶ 31. For both

  Plaintiffs, the Amended Complaint alleges that “the transfer of title to the securities took place

  within the territorial jurisdiction of the United States.” Id. ¶¶ 28, 31. Plaintiffs have “allege[d]

  facts indicating that irrevocable liability was incurred” and “that title was transferred within the

  United States.” Absolute Activist, 677 F.3d at 62. Any dispute as to whether those allegations are

  in fact true is a fact question best left for summary judgment. See Toshiba II, 424 F. Supp. 3d at

  827 (“That discovery ultimately reveals that the ADR transaction involved an initial purchase of

  common stock in a foreign transaction, as Defendant contends, can be a matter properly raised at

  the summary judgment stage.”).

         Even under Parkview, Plaintiffs’ allegations suggest that the alleged false statements

  occurred in the United States through Volkswagen’s domestic subsidiary and its executives. The

  Amended Complaint further confirms that the SEC initiated an investigation into the matter but

  did not identify any foreign authorities that had become involved. Nor is there any basis to believe,

  at this early stage of the case, that a private securities fraud suit against Volkswagen would conflict

  with any German law.

         As such, this Court finds sufficient allegations in the Amended Complaint to justify the

  potential application of § 10(b) and Rule 10b-5 in this case.



                                                    24
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 25 of 61 PageID# 638




   B. Whether the Allegations Meet the Substantive Pleading Requirements of a Securities Fraud
                                             Claim

         To state a claim under § 10(b) and Rule 10b-5, a plaintiff must allege “(1) a material

  misrepresentation or omission by the defendant; (2) scienter; (3) a connection between the

  representation or omission and the purchase or sale of a security; (4) reliance upon the

  misrepresentation or omission; (5) economic loss; and (6) loss causation.” Yates v. Municipal

  Mortg. & Equity, LLC, 744 F.3d 874, 884 (4th Cir. 2014) (quoting Stoneridge Inv. Partners v.

  Scientific-Atlanta, Inc., 552 U.S. 148, 157 (2008)).

                                    1. Material Misrepresentation

                                 Individual Defendants and VWGoA

         Defendants maintain that Plaintiffs have not alleged any statement by Volkswagen AG and

  that any statement by its subsidiary is not legally attributable to the parent company under Rule

  10b-5. They add that the alleged false statements made by VWGoA and the Individual Defendants

  do not give rise to the requisite materiality inference demanded by Federal Rule of Civil Procedure

  9(b) and the PSLRA. Defendants argue that no reasonable investor would base their investment

  decisions on what the Company later called an April Fools’ joke. Nor were the statements

  materially misleading because a name change is immaterial given it reinforced what had already

  been made public—VWGoA’s commitment to expanding its EV business.

         Plaintiffs counter that Defendants do not dispute the falsity of their statements and that

  Federal Rule of Civil Procedure 9(b) only requires that a party “state with particularity the

  circumstances constituting fraud” including “identif[ying] with some precision the date, place and

  time of active misrepresentations.” Dkt. 33 at 22 n.14 (quoting Karp v. First Conn. Bancrop, Inc.,

  No. CV RDB-18-2496, 2019 WL 4643799, at *2 (D. Md. Sept. 24, 2019)). Accordingly, Plaintiffs

  assert that materiality be subject to the plausibility standard recognized in Federal Rule of Civil


                                                  25
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 26 of 61 PageID# 639




  Procedure 8(a). Under that rubric, they contend that circumstances surrounding Volkswagen’s

  name change announcement and subsequent retraction plausibly evidence not only a false

  statement to the market, but one on which a reasonable investor would consider material in their

  investment decision.

         A viable claim under § 10(b) and Rule 10b-5 requires that a plaintiff allege a “material

  misrepresentation or omission by the defendant.” Stoneridge, 552 U.S. at 157. The plaintiff “must

  identify a factual statement or omission—that is, one that is demonstrable as being true or false.”

  In re Marriott Int’l, Inc., 31 F. 4th 898, 901 (4th Cir. 2022) (quoting Longman v. Food Lion, Inc.,

  197 F.3d 675, 682 (4th Cir. 1999)). Any false statement must be about “something consequential”

  or “as the law puts it, material.” Longman, 197 F.3d at 682 (internal quotation marks and citation

  omitted). “Materiality is an objective concept” which requires courts to assess the “significance

  of an omitted or misrepresented fact to a reasonable investor.” Id. at 682-83; Gasner v. Bd. of

  Sup’rs of the Cty. of Dinwiddie, Va., 103 F.3d 351, 356 (4th Cir. 1996).

         Under the seminal Supreme Court decision in Basic, Inc. v. Levinson, a fact is material if

  there is a “substantial likelihood that the disclosure of the . . . fact would have been viewed by the

  reasonable investor as having significantly altered the total mix of information made available.”

  485 U.S. 224, 231-32 (1988). Courts need not ascribe “childlike simplicity,” Id. at 985 (quoting

  Flamm v. Eberstadt, 814 F.2d 1169, 1175 (7th Cir. 1987)), to the reasonable investor but should

  examine whether investors would have considered the alleged false information significant. In

  making an examination of the “total mix” of information available to public investors, “a court

  ruling on a 12(b)(6) motion may look to ‘documents or articles cited in the complaint, SEC filings,

  press releases, stock price tables, and other material on which the plaintiff’s allegations necessarily

  rely.” Greenhouse v. MCG Cap. Corp., 392 F.3d 650, 656-57 (4th Cir. 2004) (quoting Morris v.



                                                    26
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 27 of 61 PageID# 640




  Wachovia Sec., Inc., 277 F. Supp. 2d 622, 629 (E.D. Va. 2003)). This Court therefore must assess

  whether “a reasonable jury could find it ‘substantially likely’ that a reasonable investor would

  believe that the disclosure of the untrue fact[] (and nothing but the disclosure of the untrue fact[])

  would alter the ‘total mix’ of information available to the reasonable investor.” Id. at 657.

         While this Court is unaware of any case in which an announced name change unilaterally

  constituted the basis for an alleged false statement under § 10(b) and Rule 10b-5, courts have

  provided a telling sample of the varieties of actionable and non-actionable false statements. 9

  “Mere business ‘puffery,’ for example, lacks the materiality essential to a securities fraud

  allegation.” SS Richmond LLC v. Christopher A. Harrison, No. 3:22-cv-405, 2022 WL 16835870,

  at *11 (E.D. Va. Nov. 9, 2022) (citing Howard v. Haddad, 962 F.2d 328, 331 (4th Cir. 1992)); see

  also Carlucci v. Han, 886 F. Supp. 2d 497, 522 (E.D. Va. 2012) (“Indefinite statements of

  corporate optimism, also known as puffery, are generally non-actionable, as they do not

  demonstrate falsity.”). These include statements relating to “healthy growth,” “achieving our

  objectives” and “competitive advantages.” In re Cable & Wireless, PLC, 321 F. Supp. 2d 749,

  767 (E.D. Va. 2004). An actionable false statement “must affirmatively create an impression of a

  state of affairs that differs in a material way from the one that actually exists.” Brody v.

  Transitional Hosps. Corp., 280 F.3d 997, 1006 (9th Cir. 2002); see also In re Cable & Wireless,

  PLC Sec. Litig., 321 F. Supp. 2d 749, 766-67 (E.D. Va. 2004) (finding “loosely optimistic

  statements that are so vague, so lacking in specificity, or so clearly constituting the opinions of the




         9
            In Kerr v. Exobox Tech. Corp., the court declined to find that a name change was material
  to the plaintiff’s investment decisions because the plaintiffs failed to provide any allegations as to
  materiality other than alleging that the defendant filed a false name with the Nevada Secretary of
  State. Kerr, No. H-10-4221, 2012 WL 201872, at **12-13 (S.D. Tex. Jan. 23, 2012).
                                                    27
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 28 of 61 PageID# 641




  speaker,” are those “that no reasonable investor could find [] important to the total mix of

  information available”).

         There are two primary false statements in the Amended Complaint, each of which requires

  similar analysis by this Court: (1) the actual name change announcement and (2) the Company’s

  initial reassurances to numerous journalists that the name change was no joke and which were

  reported publicly soon thereafter. The first name change announcement occurred on March 29,

  2021—three days prior to April 1, 2021. Dkt. 21 ¶ 103. And while such an announcement could

  conceivably be understood as a mistaken publication, the Company published a slightly manicured

  version of the announcement the following day—two days prior to April Fools’—only to retract it

  later that day after market close. Id. ¶ 120. The name change carried all the signs one would

  expect of an official corporate name change: a clearly stated purpose behind the change which

  aligned with prior actions taken by the Company; a specific go-forward plan detailing the effects

  of the name change on the Company’s business model; and related rebranding and displays to

  accompany the announcement—all devoid of even a scintilla of humor or hyperbole. Id. ¶¶ 150-

  51. 10 When reporters from numerous outlets contacted the Company to confirm the seriousness



         10
             The examples of corporate “joke campaigns” provided by Defendants, for one, do not
  form the basis for any legal precedent and therefore hold no weight before this Court. But even if
  one accepts the argument that no such lawsuits existed with respect to these “joke campaigns”
  because they were clearly not legally actionable, each of those campaigns can be easily
  distinguished from the instant matter. Tesla announced its “Model W” watch on April 1,
  immediately cluing to the public fanciful undertones. More telling is that the actual press release
  is laced with playful phraseology and imagery. See Tesla Press Release, Announcing the Tesla
  Model W (Apr. 1, 2015) https://tinyurl.com/4nabx5pn (stating “[w]arning, current version requires
  wrist strength of an Orangutan” and depicting a three dimensional pop out of Big Ben off the face
  of the watch). BMW’s announcement video of lunar paint capable of charging a car during
  sundown also occurred on April 1 and the company quickly confirmed the nature of the joke later
  that day. See BMW UK (@BMW_UK) Twitter (Apr. 1, 2019), https://tinyurl.com/bdd7vun3.
  That video did not include a detailed rollout of the product and the product itself was shocking due
  to its unprecedented nature. And the International House of Pancakes (“IHOP”) name change to
  “IHOb” to promote its burger line in June of 2018 was not a false statement as the company
                                                  28
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 29 of 61 PageID# 642




  of the announcement, Defendant Gillies and other Company representatives, assured them the

  name change was no joke. Id. ¶¶ 106, 112, 125; see In re Tesla, Inc. Sec. Litig., 477 F. Supp. 3d

  903, 927 (N.D. Cal. 2020) (finding Elon Musk’s tweet an actionable statement against Tesla in

  light of a Tesla representative confirming three times to analysts that the statement was true).11

  The name change announcement constituted a factual false statement.

         In evaluating the reports and articles referenced in the Amended Complaint, this Court

  finds that the false statements are also significant to the “total mix” of information available to the

  reasonable investor and therefore meet the materiality threshold. While it is true that the press

  release documents an already known Company-wide agenda to ramp up production of EVs, the

  false statement represented the Company going to even greater lengths to promote its EV business.

  Indeed, the name change announcement states that “‘Voltswagen’ is a public declaration of the

  company’s future-forward investment in e-mobility”—implying that no such declaration had

  previously been made. Id. ¶ 150. The announcement also expressed the Company’s “goal of

  moving all people point-to-point with EVs,” insinuating a move away from its legacy gas-powered

  vehicles. 12 Id. The degree of specificity around the roll-out of the name change and associated



  cautioned that the name change was “for the time being” which portrayed a soft name change.
  Kate Taylor, IHOP Has Revealed Why it Changed its Name to IHOb, and it Represents a Massive
  New Strategy for the Chain, Business Insider (Jun. 11, 2018), https://tinyurl.com/3x429db8.
         11
              Janus Capital Grp., Inc. v. First Derivative Traders, 564 U.S. 135 (2011), does not erect
  a protective forcefield against any statements made by Defendant Gillies. See Glickenhaus & Co.
  v. Household Int’l, Inc., 787 F.3d 408, 426 (7th Cir. 2015) (“Nothing in Janus undid the long-
  standing rule that a ‘corporation is liable for statements by employees who have apparent authority
  to make them.’”); Tesla, 477 F. Supp. 3d at 926 (“It is beyond dispute that a corporation can be
  liable for the fraud committed by its officers, so long as the officer commits it within the scope of
  his or her employment.”).
         12
            Defendants argue that VWGoA had “no reason to disparage one set of vehicles to
  promote the other, and no reasonable investor would understand its joke in that way.” Dkt. 36 at
  18. They further attempt to analogize the relationship between Volkswagen’s gas-powered and
                                                    29
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 30 of 61 PageID# 643




  branding changes for the Company’s entire EV fleet across North America distinguishes this case

  from the sort of allegations which constitute puffery, those “lacking in specificity” and too “vague”

  for investors to rely upon in making investment decisions. See In re Neustar Sec., 83 F. Supp. 3d

  671, 680 (E.D. Va. 2015). Plaintiffs’ allegations make a compelling case that Volkswagen’s name

  change announcement marked a dramatic acceleration in its emphasis on EV production in the

  wake of its competitor’s recent EV rebranding initiatives. Dkt. 21 ¶ 103. The statements made in

  the press release related to the roll-out of the name change are actionable because they are both

  sufficiently specific to the Company’s business strategy and concrete as to the Company’s

  commitment to such a strategy. Compare id. ¶ 113 (“U.S. name change from Volkswagen of

  America to Voltswagen of America begins May 2021”) with Raab v. Gen. Physics Corp., 4 F.3d

  286, 289-90 (4th Cir. 1993) (“The market gives the most credence to those predictions supported

  by specific statements of fact, and those statements are, of course, actionable if false or misleading”

  while “projections of future performance not worded as guarantees are generally not actionable.”).




  EVs with Home Depot’s sale of electric drills, reasoning that the promotion of the electric drill
  does not signal to the market it has “given up on screwdrivers.” Id. at 18-19. This Court need not
  accept the view that increasing production of EVs necessarily disparages production of gas-
  powered vehicles to accept that the entire premise of Volkswagen’s movement towards an EV fleet
  rests on replacing demand for gas-powered vehicles with demand for electric. See, e.g., Dkt. 21 ¶
  83 (“In January 2021, General Motors announced it would stop making gasoline-powered
  passenger cars, vans and SUVs by 2035. In February 2021, Jaguar announced it would go ‘all
  electric’ by 2025.). That is the entire reason why EVs reached consumers—to provide a more
  environmentally friendly, efficient transportation option. Id. ¶ 89 (Volkswagen stated, ‘this
  efficient and fully-connected all-electric [ID.3] represents a milestone on the path towards zero-
  emission mobility for a broad consumer base.’”). The continued production of gas-powered
  vehicles is diametrically opposed to Volkswagen’s “zero-emission” agenda. See id. ¶ 105 (“The
  ID.4 is the right car at the right time and is being sold by a dealer network that has really embraced
  the shift to electrification.”). The same cannot be said for the distinguishing features of electric
  and manual screwdrivers—each allows the user to achieve the same objective of turning the head
  of a screw at different angles with varying torque, which is why they are commonly owned together.
  Producing more electric screwdrivers will not, on its own, naturally weaken the demand for manual
  screwdrivers because the two function together synergistically.
                                                    30
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 31 of 61 PageID# 644




         The announcement precipitated a significant public response. It generated an investment

  recommendation from at least one analyst based on “VW’s clear commitment to its EV brand and

  massive EV endeavors over the coming years.” Id. ¶¶ 11, 118. It convinced a Tesla director to

  tweet that Volkswagen was “absolutely serious” in “show[ing] their commitment to electric” and

  that the name change was “more than changing [a] corporate logo, e.g., GM.” Id. ¶¶ 11, 119. It

  sparked a flurry of social media activity, garnering 6,045 mentions and reaching 150 million

  people by the evening of April 1, 2021, constituting what Defendant Keogh described as “the

  biggest numbers we’ve ever seen” on social media. Id. ¶¶ 137-38, 160. It resulted in an SEC

  investigation. Id. ¶ 143. And perhaps most telling is the degree of outrage expressed by the public,

  including multiple law professors, journalists, and a former SEC chief economist. Id. ¶¶ 122-35.

  These allegations reveal the effect of the alleged false statement on securities regulators and

  sophisticated members of the securities industry, which is a higher standard than that of a

  reasonable investor.

         Had the announcement been immaterial, it would not have engendered such a spirited

  public response. That response existed because the false statement “create[d] an impression of a

  state of affairs [at Volkswagen] that differ[ed] in a material way from the one that actually

  exist[ed].” Brody, 280 F.3d at 1006. Reasonable investors were led to believe that “Voltswagen”

  would be fastened to the exterior of all Volkswagen EVs while “VW” would remain on gas-

  powered vehicles; that EVs would be differentiated with a light blue color compared to the “iconic

  VW Dark Blue” that would remain on gas-powered vehicles; and that the new signage would “roll

  out to all Voltswagen properties and dealerships across the US.” Id. ¶ 150. These were not

  statements of puffery relating to “healthy growth,” “achieving our objectives” and “competitive

  advantages.” In re Cable & Wireless, PLC, 321 F. Supp. 2d at 767. Nor do Plaintiffs allege a



                                                  31
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 32 of 61 PageID# 645




  false statement that generally reflects poorly on the perceived integrity of management. See

  Greenhouse, 392 F.3d at 660 (rejecting claim that a falsified education credential in a public filing

  rose to the level of materiality). Rather, Plaintiffs have alleged with sufficient particularity “the

  circumstances constituting fraud” and “the date, place and time” of the false statements, which

  directly implicated the short-term and long-term business strategies of Volkswagen, thereby

  significantly altering the “total mix” of information available to investors. Johnson v. Wheeler,

  492 F Supp. 2d, 509 (D. Md. 2007). 13

         Taken together, these allegations lead this Court to conclude that “a reasonable jury could

  find it ‘substantially likely’ that a reasonable investor would believe that the disclosure of [the

  name change] (and nothing but the disclosure of the name change) would alter the ‘total mix’ of

  information available to the reasonable investor.” Greenhouse, 392 F.3d at 657 (quoting Morris,

  277 F. Supp. 2d at 629); see also Gray v. Alpha & Omega Semiconductor, Ltd., No. 20-cv-2414,

  2021 WL 4429499, at*7 (S.D.N.Y. Sep. 27, 2021) (“[A] complaint may not properly be dismissed

  on the ground that the alleged misstatements or omissions are not material unless they are so

  obviously unimportant to a reasonable investor that reasonable minds could not differ on the

  question of their importance.”).

                                       Volkswagen AG Liability

         In Janus Capital Grp., Inc. v. First Derivative Traders, 564 U.S. 135, 142 (2011), the

  Supreme Court determined that “[f]or purposes of Rule 10b-5, the maker of a statement is the

  person or entity with ultimate authority over the statement, including its content and whether and




         13
             This Court also notes that publicly registered companies disclose name change
  announcements, once effected in a company’s constitutional documents, as material
  announcements on Forms 8-K or 10-Q. See, e.g., Form 10-Q, Item 5, Blackstone Inc. (Aug. 6,
  2021); Form 8-K, Item 5, Voxx International Corporation (Dec. 6, 2011).
                                                   32
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 33 of 61 PageID# 646




  how to communicate it.” The Court held that a Janus defense is available in a private plaintiff

  Rule 10b-5 case even for the parent of a wholly-owned subsidiary insofar as the entities retain

  independent boards and the parent is acting in a “speechwriter” assisting capacity rather than as a

  “speaker who takes credit—or blame—for what is ultimately said.” 14 Id. at 143.

         Here, Volkswagen AG allegedly owns 100% of the entity that published the alleged false

  statement, possesses and exercises authority to appoint all of the entity’s directors and executive

  officers, directly monitors its day-to-day operations, financial reporting, accounting and regulatory

  actions, and participates in the preparation and dissemination of its public statements. Dkt. 21 ¶

  186.   And when the Wall St. Journal investigated the seriousness of the name change, a

  Volkswagen AG official allegedly stated, “There will be no name change,” further suggesting

  Volkswagen’s role as the chief speaker in these circumstances. Id. ¶¶ 13, 121, 153. Indeed, one

  other district court has previously determined that Volkswagen AG exercises “ultimate authority”

  over VWGoA and its executives. In re Volkswagen Prods Liability Litig., 2017 WL 66281, at *18.

  But here, unlike in the Northern District of California case where the plaintiffs alleged Volkswagen

  AG “also developed, reviewed, and approved the marketing and advising campaigns designed to

  sell the illegal cars,” Id. Plaintiffs have not alleged with particularity that Volkswagen AG

  provided final approval over the press release and its details. Merely alleging a daily monitoring

  function and the participation in the preparation of public statements does not allow this Court to

  infer that Volkswagen AG “collaborated with the authors to such an extent that they controlled the

  [press release’s] publication.” Noto v. 22nd Century Grp., Inc., 35 F.4th 95, 104 (2d Cir. 2022). In




         14
             The Court asks whether the allegations plausibly establish a shared identity between the
  corporate entities, much like two riders on a tandem bicycle; the peddling of one rider will propel
  the other riders but the rider in the front decides whether to brake or change direction.


                                                   33
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 34 of 61 PageID# 647




  other words, the Amended Complaint does not sufficiently allege that Individual Defendants and

  VWGoA more broadly “lacked final control over the [press release’s] contents or did not make the

  ultimate decision as to what specific information to include.” Id. But see In re Pfizer Inc. Sec.

  Litig., 19 F.3d 642, 657 (2d Cir. 2016) (finding a genuine dispute over whether a company had

  ultimate authority over another company’s employees’ statements where a fax stated that the

  company had to provide final sign-off alongside another company before such statements were

  published).

         On this ground alone, Plaintiffs have not sufficiently alleged an actionable securities fraud

  claim against Volkswagen AG. But given Plaintiffs’ claim is not implausible as a matter of law,

  this Court will allow Plaintiffs to amend their allegations in a second amended complaint.

                                             2. Scienter

         Defendants next argue that no allegations in the Amended Complaint identify an employee

  of Volkswagen AG; thus in Defendant’s view merits dismissal of any claims against that entity.

  Next, they maintain that nothing about the “April Fools prank” made by VWGoA bore any

  connection to its financial performance or prospects and that all alleged circumstantial evidence

  lacked the requisite particularity to give rise to a “strong inference” that VWGoA acted with

  scienter. Dkt. 23 at 20 (quoting Yates, 744 F.3d at 885). As to the Individual Defendants,

  Defendants submit that because there are no allegations of any “sale of personally-held stock or

  insider trading” they cannot be held liable under § 10(b) and Rule 10b-5. Defendants emphasize

  the high bar demanded by the PSLRA to adequately plead scienter and that knowingly making a

  false statement is not sufficient to show an “intent to mislead.” Id. at 23 (quoting Maguire Fin.,

  LP v. PowerSecure Int’l, Inc., 876 F.3d 541, 548 (4th Cir. 2017)).




                                                  34
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 35 of 61 PageID# 648




         Plaintiffs ask this Court to take a wholistic view of the allegations in finding that scienter

  has been sufficiently pleaded. They highlight the fact that Defendants not only knowingly issued

  a false statement to the public but that, when confronted by reporters, they continued to affirm the

  falsehood. They contend that Defendants’ reliance on Maguire overstates a rare exception for

  inadvertent misstatements. And even if Defendants did not display “intent to deceive, manipulate,

  or defraud,” Plaintiffs assert that Defendants’ conduct meets the requisite degree of recklessness

  for an actionable 10b-5 claim. Plaintiffs add that Defendants’ retraction of the announcement is

  not exculpatory.

         The PSLRA acts “[a]s a check against abusive litigation by private parties” and requires

  that a plaintiff in a private securities fraud action, for each act alleged, “state with particularity

  facts giving rise to a strong inference that the defendant acted with the required state of mind” or

  “scienter.” Maguire, 876 F.3d at 546 (quoting 15 U.S.C. § 78u-4(b)(2)). “[T]he term ‘scienter’

  refers to a mental state embracing intent to deceive, manipulate, or defraud.” Ernst & Ernst v.

  Hochfelder, 425 U.S. 185, 193 n.12 (1976). Courts in this circuit draws a “strong inference” from

  allegations “that a defendant benefited in a concrete and personal way from the fraud, engaged in

  deliberately illegal behavior, knew facts or had access to information suggesting his public

  statements were not accurate, or failed to check information that he had a duty to monitor.”

  Carlucci, 907 F. Supp. 2d at 729 (quoting In re IBM Corp. Sec. Litig., 163 F. 3d 102, 107 (2d Cir.

  1998) (citations omitted).

         “At the pleading stage, alleging either intentional or severely reckless conduct is

  sufficient.” Yates, 744 F.3d at 884. Motive may be probative of intentional conduct but “the

  inferential weight that may be attributed to any claim of motive must be evaluated in context.” Id.

  at 890; see also Tellabs, 551 U.S. at 325 (“[P]ersonal financial gain may weigh heavily in favor of



                                                   35
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 36 of 61 PageID# 649




  a scienter inference.”). To meet the standard of recklessness, the complaint must aver “an act so

  highly unreasonable and such an extreme departure from the standard of ordinary care as to present

  a danger of misleading the plaintiff.” Ottmann v. Hanger Orthopedic Grp., Inc., 353 F.3d 338,

  343 (4th Cir. 2003). The sort of “severe recklessness” required by the Supreme Court is “a slightly

  lesser species of intentional misconduct.” Id. at 344 (quoting Nathenson v. Zonagen Inc., 267 F.3d

  400, 408 (5th Cir. 2001)). Ultimately, the Fourth Circuit instructs courts to probe the complaint

  to determine whether a defendant “acted with wrongful intent.” Cozzarelli v. Inspire Pharm. Inc.,

  549 F.3d 618, 621 (4th Cir. 2008)

         Thus, this Court must assess “whether all of the facts alleged, taken collectively, give rise

  to a strong inference of scienter, not whether any individual allegation, scrutinized in isolation,

  meets that standard.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 323 (2007).

  “Proof of scienter need not be direct, but may be inferred from circumstantial evidence.” Malone

  v. Microdyne Corp., 26 F.3d 471, 479 (4th Cir. 1994). “[A]n inference of scienter can only be

  strong . . . when it is weighed against the opposing inferences that may be drawn from the facts in

  their entirety.” Cozzarelli, 549 F.3d at 624. “To survive a motion to dismiss in a § 10(b) complaint,

  ‘the inference of scienter must be more than merely “reasonable” or “permissible”—it must be

  cogent and compelling, thus strong in light of other explanations.’” Maguire, 876 F.3d at 547

  (quoting Tellabs, 551 U.S. at 324); see also Yates, 744 F.3d at 885 (“A court must compare the

  malicious and innocent inferences cognizable from the facts pled in the complaint, and only allow

  the complaint to survive a motion to dismiss if the malicious inference is at least as compelling as

  an opposing innocent inference.” (quoting Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981,

  991 (9th Cir. 2009)). If the Court finds that “the inference that defendants acted innocently, or

  even negligently, more compelling than the inference that they acted with the requisite scienter,”



                                                   36
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 37 of 61 PageID# 650




  the [C]ourt must dismiss the complaint. Pub. Emps.’ Ret. Ass’n of Co. v. Deloitte & Touche LLP,

  551 F.3d 305, 313 (4th Cir. 2009).

                                       a. Individual Defendants

         Beginning with the Individual Defendants, Plaintiffs have not alleged “specific facts of

  ‘motive and opportunity’ to defraud” for personal gain by Individual Defendants. Philips v. LCI

  Intern., Inc., 190 F.3d 609, 621 (4th Cir. 1999); see also Inst’l Investors Grp. v. Avaya, Inc., 564

  F.3d 242, 279 (3d Cir. 2009) (“Corporate officers always have an incentive to improve the lot of

  their companies, but this is not, absent unusual circumstances, a motive to commit fraud.”). But

  that inquiry is just one of several factors courts in this circuit consider; courts also weigh whether

  the individual defendants’ allegedly fraudulent conduct involved “core operations” of the business,

  their “positions and level of personal involvement within the company,” and “statements regarding

  compliance.” Kiken v. Lumber Liquidators Holdings, Inc., 155 F. Supp. 3d 593, 606 (E.D. Va.

  2015) (quoting In re Genworth Fin. Inc. Secs. Litig., 103 F. Supp. 3d 759, 783-87 (E.D. Va. 2015)).

         The Amended Complaint alleges that the EVs implicated in the press release represent a

  core business of Volkswagen. Dkt. 21 ¶ 88 (Volkswagen indicated in its 2020 Annual Report that

  EVs were a “core business”), ¶ 93 (Volkswagen AG CEO Herbert Diess stated “E-mobility has

  become a core business for us”), ¶ 96 (Diess tweets that “battery and charging has become core

  business of @VWGroup”). Moreover, according to Plaintiffs, the Individual Defendants held

  senior executive positions at VWGoA and were involved in the “drafting, producing, reviewing

  and/or disseminating” of the press release. Id. ¶¶ 35-36, 38. Further, the Individual Defendants

  confirmed the legitimacy of the name change to the press, which although not a statement

  regarding compliance, conveyed the same tone that such statement would evoke. Id. ¶¶ 112, 136.




                                                   37
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 38 of 61 PageID# 651




  This Court finds that under these considerations, coupled with other allegations in the Amended

  Complaint, evidence that the Individual Defendants acted with severe recklessness.

         As to Defendant Keogh, Plaintiffs highlight his quote in the press release: “We have said,

  from the beginning of our shift to an electric future, that we will build EVs for the millions, not

  just millionaires. This name change signifies a nod to our past as the peoples’ car and our firm

  belief that our future is in being the peoples’ electric car.” Dkt. 21 ¶ 113. Plaintiffs further

  spotlight Defendant Keogh’s admission, after the announcement had been retracted, that “the

  upside [of the name change] is, obviously, the social media response has been the biggest numbers

  we’ve seen.” Id. ¶ 138. Defendant Gillies went so far as to confirm to inquiring journalists the

  seriousness of the press release, Dkt. 21 ¶ 128, only to backtrack the following day by calling the

  statement a “pre-April Fool’s Day joke,” id. ¶ 130. And a Volkswagen AG spokesman, Christoph

  Ludewig, further confirmed, on March 31, 2022, that “from the start,” Volkswagen sought to

  generate attention to the Company’s “e-offensive” and “generate attention for an important

  corporate and industry topic in the USA.” See Dkt. 9-1 at 2-3.

         There is no equally compelling contradictory inference for Defendant Gillies’ initial

  statement to the press that aligns with this Court’s investigation of the allegations in the Amended

  Complaint. Defendants ask this Court to consider the inference that no Volkswagen employee

  contemplated “that the joke would influence investors in any way,” that VWGoA “carried out the

  joke for ‘marketing and public relations’ reasons,” and that “[n]othing about the joke was in any

  way tied to VWGoA’s financial performance or prospects.” Dkt. 23 at 20-21. Yet Defendants’

  position significantly downplays the recklessness of the stunt.        To be sure, one innocent

  inference—which Defendants do not raise—could be that the Company seriously intended to

  effectuate the name change, which Defendants specified would occur more than a month after the



                                                  38
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 39 of 61 PageID# 652




  announcement. Dkt. 21 ¶ 130.        Then, the draft press release was mistakenly published a

  month premature, so the Company decided to republish a cleaned-up release hours later, and

  that only after internal corporate deliberations, it was decided the name change would not occur.

  Thus, at the time the Individual Defendants reassured media outlets that the name change

  was indeed serious, Dkt. 21 ¶ 157, it could have reflected the true intent of the Company at

  that time. Cf. Yates, 744 F.3d at 888 (“A more logical and compelling inference is that [the

  defendants] were continuing to assess the scope of the problem before deciding on an appropriate

  course of action.”). Indeed, Defendant Keogh admitted to the press that the name change

  provided the largest social media response in the Company’s history but added that “the intent

  wasn’t to deceive the public.” See Ben Foldy, VW’s U.S. Boss Takes Responsibility for

  “Voltswagen” Prank, Wall St. J. (Apr. 1, 2021), https://tinyurl.com/56d7v3c3. But this narrative

  requires too many far-fetched inferential leaps.     Rather it is more likely, based on the

  allegations, that the Individual Defendants acted in concert to push a name change for the

  express purpose of obtaining “free publicity” on social media regarding the newly announced

  ID.4, as an “e-offensive,” and after a sloppy, mistimed announcement, used April Fools’ Day

  as a scapegoat mechanism to the “joke campaign.”          That campaign no doubt sought to

  generate buzz and demand for Volkswagen’s first electric SUV marketed in North America.

  See Dkt. 21 ¶ 111. These allegations are as close to a smoking gun as one could hope to have at

  the pleading stage.

         Ultimately, Defendants push an “innocent” inference which, taking the allegations

  of circumstantial evidence in the Amended Complaint together, adequately pleads

  severe recklessness and is therefore actionable under § 10(b). In light of allegations that the

  Company sought to “rebuild trust” with the public following “Dieselgate,” the idea of

  intentionally fooling or manipulating the public in the first instance further supports that the
                                                 39
  Individual Defendants’
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 40 of 61 PageID# 653




  endorsement of the fake name change constituted severe recklessness. Indeed, Defendant Keogh

  himself allegedly emphasized in an August 2020 interview, months before the name change

  announcement, that “you need to be a well-liked and well-trusted brand.” Id. ¶ 81. And given the

  recent SEC action against Volkswagen’s EV competitor Elon Musk for his misstatements about

  taking Tesla private, the standard of ordinary care was as clear-cut as ever at the time the Individual

  Defendants announced and reaffirmed the name change. See id. ¶ 162. Moreover, the allegations

  suggest that the Company and its officers, including Defendant Keogh, were posturing to compete

  with Tesla. Id. ¶¶ 92-93. A social media campaign powered by the name change announcement

  could help Volkswagen steal attention in the EV market away from Tesla. While “holding an

  executive position alone does not necessarily lead one to infer that [such executives] knew that the

  alleged omissions were false or misleading,” Iron Workers Local 16 Pension fund v. Hilb Rogal

  & Hobbs Co., 432 F. Supp. 571, 592 (E.D. Va. 2006), the Individual Defendants allegedly

  reassured inquiring reporters of the seriousness of the name change.

         Consciously doubling down on the “joke campaign” without insinuating that this was

  indeed a joke, further evidences an attempt to deceive the public for the purpose of better posturing

  the Company’s EV sales. 15 See In re 2U, Inc. Sec. Class Action, No. CV TDC-19-3455, 2021 WL

  3418841, at *8 (D. Md. Aug. 5, 2021) (“[W]here a plaintiff identifies ‘numerous allegedly

  misleading statements and omissions that were not caused by the use of imprecise language or the

  execution of a legitimate business decision,’ such allegations may support a strong inference of



         15
             The fact that the SEC initiated an investigation into the name change does not add or
  take away from an inference of scienter. See Cozzarelli, 549 F.3d at 628 n.2 (finding an allegation
  that the SEC is investigating defendants for fraud as “too speculative to add much, if anything, to
  an inference of scienter”); Brophy v. Jiangbo Pharma., Inc., 781 F.3d 1296, 1307 (11th Cir. 2015)
  (“[T]here is no connection between the fact of an SEC investigation and [a defendant’s] state of
  mind that a reviewing court may reasonably draw on the face of the complaint.”).

                                                    40
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 41 of 61 PageID# 654




  scienter.” (quoting Zak v. Chelsea Therapeutics Int’l, Ltd., 780 F.3d 597, 610 (4th Cir. 2015)));

  see also Avaya, Inc., 564 F.3d at 268 (finding scienter where individual defendants maintained

  misleading statements following inquiries from analysts); Tesla, 477 F. Supp. 3d at 929 (finding

  scienter when individual corporate defendant assured media that misleading statement was in fact

  serious). Calling a deceptive corporate tactic a “joke” as a euphemism for intentionally lying,

  particularly after doubling down on the deception when probed, is exactly the sort of reckless

  corporate behavior Congress meant to check in enacting the Exchange Act and protecting retail

  investors. 15 U.S.C. § 78b.

         Defendants rely heavily on the notion that even if the Individual Defendants did knowingly

  misrepresent to the public the seriousness of the name change, more is required to show an “intent

  to mislead.” Maguire, 876 F.3d at 548. But Maguire speaks to an inapposite set of facts where a

  defendant was alleged to have “kn[o]w[n] enough to realize that his characterization was

  technically incorrect.” Id. In this case, the Individual Defendants are alleged to have known full-

  well they were telling a lie, dressed as a “joke,” and that when given an opportunity to retract their

  statements to the public, they doubled down by not only republishing the press release but also

  reassuring inquiring minds. Dkt. 21 ¶¶ 130, 136. That Defendants “came clean” on their own

  accord after roughly a 48 hour period of deceiving the public may certainly “weaken[]” the

  inference that they intended the deception, see Matrix Cap., 576 F.3d at 192; see also Yates, 744

  F.3d at 888 (“find[ing] it significant that it was [the company]—and not some outside entity—that

  ultimately disclosed” information correcting earlier inaccuracies), but it does not defeat the strong

  inference of recklessness. Neither in Matrix nor in Yates were the corrective disclosures preceded




                                                   41
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 42 of 61 PageID# 655




  first by knowing denials of material misrepresentations. See id. 16 Despite Defendants’ recitals to

  other fact patterns in which the Fourth Circuit has affirmed allegations of securities fraud, this

  Court is unaware of any rule requiring revelation of an alleged fraud by third parties under § 10(b).

  Plaintiffs’ allegations allow this Court, at this stage of the litigation, to find that the Individual

  Defendants “knew facts or had access to information suggesting [their] public statements were not

  accurate,” because the Individual Defendants later confirmed their understanding, from the

  beginning, that the name change and associated logistical changes were always meant to be a farse.

  See Dkt. 21 ¶ 123; Carlucci, 907 F. Supp. 2d at 729 (quoting In re IBM Corp. Sec. Litig., 163 F.

  3d 102, 107 (2d Cir. 1998)) (citations omitted).

         This Court finds that the circumstantial evidence underpinning Plaintiffs’ claims permit an

  inference of scienter as to the Individual Defendants. Considering the context of the Company’s

  business goals and its competitive environment, the sheer sensibility of the name change

  announcement makes Plaintiffs’ allegations of scienter “cogent and compelling.” Maguire, 876

  F.3d at 547 (quoting Tellabs, 551 U.S. at 324). Plaintiffs have met the exacting pleading standard

  of the PSLRA as to the scienter of the Individual Defendants because this Court draws a “strong

  inference of wrongful intent that is necessary to support [Plaintiffs’] securities fraud claims.”




         16
             Defendants appear to vacillate between the position that the name change retraction was
  and was not a corrective disclosure for purposes of securities law analysis. Compare Dkt. 23 at
  29 (referring to the name change retraction as an “alleged corrective disclosure” for purposes of
  arguing against allegations of loss causation) with Dkt. 36 at 15 (arguing against the view that
  “revealing a joke is a ‘corrective disclosure’”). This Court finds no case law to support the position
  that the public retraction of a false statement cannot be treated as a “corrective disclosure” and
  instead deems the publication of the Company’s statements to news outlets to constitute “the
  revelation of new facts suggesting [Defendants] perpetrated a fraud on the market.” Singer, 883
  F.3d at 445; see also In re Omnicom Grp., Inc. Secs. Litig., 541 F. Supp. 2d 546, 552 (S.D.N.Y.
  2008) (finding that an alleged corrective disclosure must “reveal the falsity of an alleged
  misstatement”). This disclosure is different from the concealed risk theory in which “news from
  another source [outside the defendant company] revealed the company’s fraud.” Id.
                                                     42
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 43 of 61 PageID# 656




  Cozzarelli, 549 F.3d at 621. Given the prior corporate upheaval at Volkswagen and the publicly

  expressed desire to build trust with the public, the Individual Defendants’ alleged conduct far

  surpasses negligence and represents “an act so highly unreasonable and such an extreme departure

  from the standard of ordinary care as to present a danger of misleading the plaintiff.” Ottmann,

  353 F.3d at 343. And as already discussed, Plaintiffs and other more sophisticated market

  participants and observers were misled.

                                     b. VWGoA and Volkswagen AG

          “When the defendant is a corporate entity, this means that the pleaded facts must create a

  strong inference that someone whose intent could be imputed to the corporation acted with the

  requisite scienter.” Teamsters Local 445 Freight Div. Pension Fund v. Dynex Cap. Inc., 531 F.3d

  190, 195 (2d Cir. 2008); Graer v. Am. Pub. Educ., Inc., 895 F. Supp. 2d 763, 787 (N.D. W. Va.

  2011) (“And if the defendant is a corporation, the plaintiff must allege facts that support a strong

  inference of scienter with respect to at least one authorized agent of the corporation, since corporate

  liability derives from the actions of its agents.”).

          It is possible to raise the required inference with regard to a corporate defendant without

  pleading an inference of scienter for an individual defendant employed directly by that corporation

  in what courts call “collective scienter.” Makor Issues & Rights, Ltd. v. Tellabs Inc., 513 F.3d

  702, 710 (7th Cir. 2008); Nordstrom, Inc. v. Chubb & Son, Inc., 54 F.3d 1424, 1436 (9th Cir.

  1995). The Fourth Circuit, however, has not addressed its position on the theory of “collective

  scienter” liability.

          Plaintiffs have sufficiently alleged that the Individual Defendants are authorized agents of

  VWGoA because, as already outlined, they have alleged each individual is “sufficiently

  knowledgeable about the company to know that the announcement was false.” Makor, 513 F.3d



                                                     43
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 44 of 61 PageID# 657




  at 710; Nordstrom, 54 F.3d at 1436 (concluding that “corporate scienter relies heavily on the

  awareness of the directors and officers”). Thus, Plaintiffs have sufficiently pleaded scienter as to

  VWGoA.

         But given this Court’s earlier determination that Plaintiffs have not sufficiently pleaded

  Volkswagen AG exercised “ultimate authority” over VWGoA, this Court is unable to attribute the

  severe recklessness of the Individual Defendants to Volkswagen AG by way of a “collective

  scienter” theory. To be sure, a spokesman for Volkswagen AG confirmed knowledge from the

  beginning of the campaign that its purpose was to propagate a flurry of social media attention in

  what he called an “e-offensive.”       See, e.g., Dkt. 9-1 at 2-3.      Further, the name change

  announcement was “so important and so dramatically false that at least one corporate official from

  [Volkswagen AG] must have known of their falsity upon publication.” In re Volkswagen Prod.

  Liability Litig., 2017 WL 66281, at *16. But Plaintiffs have not pleaded that Volkswagen AG had

  final approval power over the alleged false statements.

         In this case, the allegations allow this Court to draw a strong inference of scienter on the

  part of VWGoA but fall short as to the parent issuer.

    3. Relationship to the Purchase or Sale of a Security Upon Which Investors May Reasonably
                                                Rely 17

         Plaintiffs argue that they have standing to bring a § 10(b) and Rule 10b-5 action against

  Defendants because VWGoA’s alleged false statements bear a sufficient “connection” with the

  ADRs purchased by Plaintiffs. Because the Company took no steps to prevent future sales and “in

  practice depositary banks obtain the issuer’s consent before establishing an unsponsored ADR




         17
            This Court addresses the standing issue of the security itself alongside the “in connection
  with” inquiry into the relationship between the purchase of that security and the alleged false
  statements.
                                                   44
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 45 of 61 PageID# 658




  program,” Dkt. 21 ¶ 65, Plaintiffs contend that Volkswagen likely approved of the distribution of

  ADRs to U.S. markets. Consequently, from Plaintiff’s perspective, unsponsored ADRs should not

  be uniformly outside the reach of § 10(b).

         Defendants maintain that they formally ended their sponsored ADR program in 2018 and

  that the current unsponsored ADR program reflects Volkswagen’s hands-off approach to the

  purchase and sale of its ADRs in U.S. markets. They claim they chose to list their securities

  exclusively in foreign markets to avoid regulation and litigation in the United States, which the

  SEC has noted is a compelling reason for finding an inadequate connection under § 10(b).

  Defendants also argue that Plaintiffs have not alleged VWGoA was aware of the unsponsored

  ADR program.      Defendants maintain that if the Court were to adopt Plaintiffs’ view that

  Volkswagen provided its implied consent to the program by doing nothing in response to the

  creation of the ADR program, such a position would unreasonably subject foreign issuers to defend

  U.S. securities suits whether they affirmatively endorsed or ignored the unsponsored ADR

  program.

         Section 10(b) provides civil remedies for private securities plaintiffs when those plaintiffs

  can show that the defendants engaged in some deceptive practice contrary to the federal securities

  rules and regulations “in connection with the purchase or sale of any security registered on a

  national securities exchange or any security not so registered.” 15 U.S.C. § 78j(b). “The Supreme

  Court has consistently embraced an expansive reading of § 10(b)’s ‘in connection with’

  requirement.” SEC v. Pirate Investor LLC, 580 F.3d 233, 244 (4th Cir. 2009) (quoting SEC v.

  Wolfson, 539 F.3d 1249, 1262 (10th Cir. 2008)). That broad reading requires courts to gauge

  whether the alleged fraudulent activity “touches” or “coincides” with a securities transaction. Id.

  (citing Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Dabit, 547 U.S. 71, 85 (2006)). Courts may



                                                  45
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 46 of 61 PageID# 659




  consider: “(1) whether a securities sale was necessary to the completion of the fraudulent scheme;

  (2) whether the parties’ relationship was such that it would necessarily involve trading in

  securities; (3) whether the defendant intended to induce a securities transaction; and (4) whether

  material misrepresentations were disseminated to the public in a medium upon which a reasonable

  investor would rely.” Id. But none of these factors are considered mandatory in satisfying the “in

  connection requirement”; “[t]hey exist merely to guide the inquiry.” Id. “[A] close fit with one

  factor may well be enough for a fraud to result in § 10(b) liability.” Id. at 245; see also SEC v.

  Zandford, 535 U.S. 813, 819 (2002) (“Section 10(b) of the Securities Exchange Act . . . should be

  construed not technically and restrictively, but flexibly to effectuate its remedial purposes.”).

         “Where the fraud alleged involves public dissemination in a document . . . on which an

  investor would presumably rely, the ‘in connection with’ requirement is generally met by proof of

  the means of dissemination and the materiality of the misrepresentation or omission.” Pirate, 580

  F.3d at 249 (citing SEC v. Rana Research, Inc., 8 F.3d 1358, 1362 (9th Cir. 1993)). “[I]t is

  irrelevant that the misrepresentations were not made for the purpose or the object of influencing

  the investment decisions of market participants.” Semerenko v. Cendant Corp., 223 F.3d 165, 176

  (3d Cir. 2000) (applying the same standard enunciated in SEC v. Tex. Gulf Sulphur Co., 401 F.2d

  833 (2d Cir. 1968) adopted and clarified by the Fourth Circuit in Pirate). Alleged misstatements

  contained in publicly available filings, including press releases, generally meet the “in connection

  with requirement.” In re Sinclair Broad. Grp., Inc. Sec. Litig., No. CV CCB-18-2445, 2020 WL

  571724, at *5 (D. Md. Feb. 4, 2020), reconsideration denied, 473 F. Supp. 3d 529 (D. Md. 2020).

  Reasonable investors may rely on these statements because “market professionals generally

  consider most publicly announced material statements about companies, thereby affecting stock

  market prices.” Basic Inc. v. Levinson, 485 U.S. 224, 246 n.24 (1988).



                                                   46
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 47 of 61 PageID# 660




         This Court finds the case law upon which Defendant relies to be unpersuasive for the

  general proposition that Plaintiffs plenarily lack standing to litigate a § 10(b) claim against a

  company in whose stock they did not directly purchase. In Ontario Pub. Serv. Emply’s Union

  Pension Tr. Fund v. Nortel Networks Corp., 369 F.3d 27 (2d Cir. 2004), the plaintiffs purchased

  stock in one issuer and argued that a false statement by another company that conducted business

  with the issuer inflated the issuer’s stock price. The court reasoned that “statements by a non-

  issuer [regarding the security that is the subject of the suit] about a non-issuer” are not actionable

  under Rule 10b-5. In re NYSE Specialists Sec. Litig., 405 F. Supp. 2d 281, 305 (S.D.N.Y. 2005)

  (dissecting Nortel, 369 F.3d at 33). The Second Circuit has cautioned against reading Nortel

  broadly in such a way that “would place beyond the reach of Rule 10b-5 false statements made by

  underwriters, brokers, bankers, and non-issuer sellers.” In re NYSE Specialists Sec. Litig., 503

  F.3d 89, 102 (2d Cir. 2007). In Klein v. Altria Grp, Inc., 525 F. Supp. 3d 638, 658 (E.D. Va. 2021),

  the court held that Nortel’s limitations did not prevent the application of Rule 10b-5 to two

  companies—Altria and JUUL—involved in a “scheme.” The court reasoned that the relationship

  between the two companies “would result in the merger of the[ir] advertisement and distribution

  resources” and further highlighted that the issuer took a “significant (though minority) stake” in

  the company alleged to have made a false statement.

         Unlike in Nortel, the issuer here is alleged to control the entity responsible for making the

  alleged false statements. Dkt. 21 ¶ 186. Volkswagen AG allegedly owns 100% of the entity that

  published the alleged false statement, possesses and exercises authority to appoint all of the entity’s

  directors and executive officers, directly monitors its day-to-day operations, financial reporting,

  accounting and regulatory actions, and participates in the preparation and dissemination of its

  public statements. Id. And like Klein, these allegations reveal that Volkswagen and the Company



                                                    47
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 48 of 61 PageID# 661




  operated in a manner that is anything but remote and that is far more closely-knit than the “scheme”

  between Altria and JUUL. 18 For purposes of standing, Plaintiffs’ fulsome allegations demonstrate

  the appropriateness of extending Rule 10b-5’s reach to securities of a parent company, when that

  parent company exercises substantial involvement over the day-to-day operations of a wholly-

  owned subsidiary alleged to have violated federal securities laws. If this were not so, issuers

  exercising such concrete control over their subsidiaries would never be legally responsible for the

  statements of their non-publicly traded wholly-owned subsidiaries. That would reward issuers

  with a scapegoat mechanism through their unlisted subsidiaries to avoid§ 10(b)’s remedial scheme.

         This Court also finds that the distinction between a sponsored and unsponsored ADR

  program impacts the degrees of separation between the ADR and the foreign issuer, which

  implicates the “in connection with” analysis under § 10(b). According to the SEC:

         Sponsored ADRs are those in which the non-U.S. company enters into an
         agreement directly with the U.S. depositary bank to arrange for recordkeeping,
         forwarding of shareholder communications, payment of dividends, and other
         services. An unsponsored ADR is set up without the cooperation of the non-U.S.
         company and may be initiated by a broker-dealer wishing to establish a U.S. trading
         market.

  SEC Investor Bulletin at 1-2. In its amicus brief in the Toshiba Appeal, the SEC concedes that the

  fact an ADR program is unsponsored may be material to whether a plaintiff class can show the “in

  connection” requirement satisfied. See SEC Brief, 2019 WL 2185128, at *17 (“if petitioner can

  show that it ‘ch[o]se to list and transact [its] securities only in foreign markets precisely to avoid




         18
              This Court’s determination as to Volkswagen AG’s relationship to VWGoA for
  purposes of standing is separate and apart from its discussion of whether a material
  misrepresentation may be attributed to Volkswagen AG—the latter requiring a specific assessment
  of the allegations as they relate to Volkswagen’s involvement in the publication of the alleged
  material misrepresentation. In other words, this Court first must assess whether § 10(b) and Rule
  10b-5 liability may ever attach to Volkswagen’s unsponsored ADRs and, if so, whether the
  allegations of the Amended Complaint meet that standard.
                                                   48
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 49 of 61 PageID# 662




  U.S. securities regulation and litigation,’ it would be more difficult for respondents to prove that

  petitioner’s accounting fraud was “in connection with” domestic ADR purchases.” (citation

  omitted)). 19 The SEC’s formal guidance confirms that a foreign issuer need not have any contact

  with a depositary bank offering an unsponsored ADR program. 68 Fed. Reg. at 54,645; see also

  Additional Form F-6 Eligibility Requirement Related to the Listed Status of Deposited Securities

  Underlying American Depositary Receipts, Securities Act Release No. 8287, Exchange Act

  Release No. 48,482, 68 Fed. Reg. 54,644, 54,645 (Sept. 17, 2003) (noting that the creation of an

  unsponsored ADR program “does not involve the formal participation or even require the

  acquiescence of, the foreign company whose securities will be represented by the ADRs”);

  Exemption from Registration Under Section 12(g) of the Securities Exchange Act of 1934 for

  Foreign Private Issuers, Exchange Act Release No. 58,465, 73 Fed. Reg. 52,752, 52,762 (Sept. 10,

  2008) (clarifying that while the depositary bank must register unsponsored ADRs on Form F-6

  with the SEC, the foreign issuer of the underlying reference securities traded abroad faces no filing

  obligations with the SEC).

         That reality, however, does not preclude the possibility that Volkswagen, in this case, did

  approve of the unsponsored ADR program. Plaintiffs have sufficiently pleaded Volkswagen’s

  “connection to the ADR transactions” by systematically describing the nature of the ADRs and the

  contractual terms associated with owning such securities, Dkt. 21 ¶¶ 51-56, the specific depositary

  banks that have registered the ADRs with the SEC, id. ¶ 57, the details of said registration on Form

  F-6, id. ¶¶ 58-63, and the nature of the OTC markets in which the ADRs trade, id. ¶¶ 69-78—




         19
            Any discussion of being able to “show” some fact implies an investigation by the court
  that would occur upon the conclusion of discovery.


                                                   49
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 50 of 61 PageID# 663




  bedrock factors that establish the nature of the transactions involved. See Stoyas, 896 F.3d at 951;

  Toshiba II, 424 F. Supp. 3d at 828.

         Plaintiffs have specifically identified that one of the depositary banks offering the ADRs

  in this dispute confirmed to the SEC that best practice for it and other banks is to “obtain the

  [foreign] issuer’s consent before establishing an unsponsored ADR program.” Dkt. 21 ¶ 65

  (quoting DB Comment Letter at 4). As such, Plaintiffs provide a plausible basis that at least one

  of the involved depositary banks “provided Volkswagen with an opportunity to object to and

  prevent the establishment of such program,” “obtained a letter of non-objection or other evidence

  of consent from Volkswagen,” and/or “took other actions intended to obtain Volkswagen’s consent

  to the sale of unsponsored ADSs in the United States.” Id. ¶ 66. Whether or not such interactions

  occurred is likely near impossible to know at the pleading stage, making it a question best answered

  through discovery. Indeed, Plaintiffs allege that Volkswagen’s website “states that it reached the

  approved registration limit for its ADR programs and decided not to renew them.” Id. ¶ 53. But

  that is a very different proposition than expressly disclaiming any responsibility for ADR programs

  it has not approved with the purpose of avoiding U.S. securities regulation and litigation. 20 After



         20
             Volkswagen’s prior ADR program involved Level I sponsored ADRs, which as a matter
  of regulatory burdens to Volkswagen, did not differ from the unsponsored ADR program in which
  Plaintiffs participated here. See SEC Investor Bulletin at 2. The only functional difference appears
  to have been the fact that Volkswagen did not enter into an agreement directly with the U.S.
  depositary banks “to arrange for recordkeeping, forwarding of shareholder communications,
  payment of dividends, and other services.” Id. at 1-2. Rather, a broker-dealer may form that
  agreement directly with the U.S. depositary banks based on investor demand. Whether the Level
  1 ADR program is sponsored or unsponsored, the foreign issuer of the underlying shares retains
  the same regulatory burden in U.S. markets. It is the U.S. depositary bank which registers the
  ADRs in both sponsored and unsponsored Level 1 ADR programs, see 17 C.F.R. § 230.466(a),
  and the foreign issuer has no reporting requirements under the Exchange Act other than to meet
  the requirements of 17 C.F.R. § 240.12g3-2(b) to continue to qualify as a “foreign private issuer.”
  Given that the regulatory burden on a foreign issuer is no different between an unsponsored ADR
  program and a Level 1 sponsored ADR program, this Court notes that a § 10(b) claim against
  Volkswagen in connection with its Level 1 sponsored ADRs survived a motion to dismiss. See In
                                                  50
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 51 of 61 PageID# 664




  all, “the number of Volkswagen ADSs [] available for sale in the United States is limited by the

  number of Volkswagen shares that Volkswagen has issued and authorized for sale,” and

  “[d]epositary banks are prohibited from selling Volkswagen shares that are not supported by

  underlying foreign shares of stock deposited and held by the depositary.” Id. ¶ 58. Volkswagen

  therefore continues to receive the benefit of demand on its foreign shares from depositary banks

  seeking to distribute ADSs to U.S. markets by purchasing those foreign shares.             Moreover,

  because Plaintiffs have implicated a specific depositary institution, which has publicly confirmed

  it requires the approval of the foreign issuer prior to launching an unsponsored ADR program,

  Plaintiffs’ allegations provide a plausible basis that the alleged misstatement “touches” or

  “coincides” with “the purchase or sale of any other security in the United States.” Pirate, 580 F.3d

  at 244.

            This Court also reaffirms the principle that “publicly-disseminated press releases, research

  reports, and website representations that contain materially false and misleading statements

  regarding an issuer of securities satisfies the ‘in connection with’ requirement.”            SEC v.

  StratoComm Corp., 2 F. Supp. 3d 240, 258-59 (S.D.N.Y. 2014); see also Rowinski v. Salomon

  Smith Barney Inc., 398 F.3d 294 (3d Cir. 2005); SEC v. Rana Research, Inc., 8 F.3d 1358, 1362

  (9th Cir. 1993); SEC v. DCI Telecomm., Inc., 122 F. Supp. 2d 495, 499-500 (S.D.N.Y. 2000). As




  re Volkswagen Prods Liability Litig., 2017 WL 66281, at *24. There, the court determined that
  “Volkswagen took affirmative steps to make its securities available to investors here in the United
  States” including arranging for the issuance of ADRs for the convenience of U.S. investors by
  entering into a deposit agreement with a New York bank. “As a result of Volkswagen’s actions,
  the ADRs were and are offered to domestic investors on an OTC market located in the United
  States.” Id. at *6. The court also considered allegedly false statements made by VWGoA in
  connection with the Volkswagen ADRs. The court’s “in connection with” analysis as applied to
  Volkswagen’s legacy Level I ADR program squares with this Court’s chief concern here: whether
  Volkswagen provided its approval to any of the depositary banks to issue unsponsored ADRs
  purchased by Plaintiffs.
                                                    51
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 52 of 61 PageID# 665




  the Fourth Circuit requires, Plaintiffs have adequately averred that VWGoA publicly disseminated

  a press release on multiple occasions and that such announcement was material. Not only did the

  announcement itself detail an upcoming significant rebranding effort by the Company across North

  America, but it also generated a widespread public response. See Dkt. 21 ¶¶ 106-42. Given the

  alleged seriousness with which the market perceived the name change, it is entirely reasonable that

  investors would have relied upon the press release. See id. ¶¶ 11, 118 (alleging that at least one

  securities analyst published a bullish report on Volkswagen stock following the publication of the

  press release).

           The problem remains, however, that Plaintiffs have not adequately demonstrated that

  Volkswagen AG may be held liable under § 10(b) because the Amended Complaint does not state

  with the level of particularity demanded by the PSLRA that Volkswagen confirmed the publication

  of the press release. This Court will not contravene Janus by holding that the statements of a non-

  publicly traded wholly-owned subsidiary and its employees may be actionable upon the parent

  issuer when the Amended Complaint fails to adequately plead that the alleged material

  misstatements may be attributed to the parent issuer. Without a plausible theory of liability

  ascribed to the issuer, Plaintiffs’ purchase or sale of Volkswagen ADRs cannot be said to “touch[]”

  or “coincide” with the alleged false statements of the Individual Defendants and VWGoA.

           In sum, Plaintiffs have sufficiently alleged that Volkswagen continues to play an active

  role in the unsponsored ADR program and that it was reasonable for investors to rely upon those

  alleged false statements. But they have not sufficiently pleaded that the alleged false statements

  by the Individual Defendants and VWGoA “coincide” with or “touch[]” the ADRs purchased by

  Plaintiffs because the issuer of the underlying securities has not been shown to be liable under §

  10(b).



                                                  52
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 53 of 61 PageID# 666




                                4. Economic Loss and Loss Causation

         Defendants argue that while Plaintiffs traded in both common and preferred ADR stock,

  the Amended Complaint fails to plead any allegations related to the preferred ADR stock

  purchased by Lead Plaintiff. In that vein, Defendants also note that Plaintiffs do not explain in the

  Amended Complaint why the price of the preferred and common diverged one day after

  Volkswagen confirmed the name change would not occur. Defendants further highlight that the

  common shares actually traded at a higher price after the retraction of the name change; $36.30 by

  the end of March 31, compared to a closing price of $34.65 the day of the initial name change

  announcement, thus effectively discounting any causal link between the announcement and share

  price. Lastly, according to Defendants, Plaintiffs have not alleged with “sufficient specificity”

  unusually high trading volume that would indicate a sell-off caused by the name change retraction.

         Plaintiffs maintain that the Amended Complaint’s allegations, when properly assessed in

  Plaintiffs’ favor, support a theory of loss causation that is not facially implausible and that any

  skepticism there may be in this theory is best left following discovery. Rather than focusing on

  price movements after the class period, Plaintiffs contend that by simply alleging a price drop in

  the ADRs at the time of the name change retraction, they have met their pleading burden at the

  motion-to-dismiss stage. Plaintiffs add that any share increase following a corrective disclosure

  has no impact on their claims unless Defendants can show in discovery that the rally resulted from

  the same news as that which allegedly precipitated the initial decline in stock price. Plaintiffs

  argue Defendants cannot make this showing because Volkswagen ADRs traded higher after the

  corrective disclosure due to macro-economic factors. And while Plaintiffs argue that there is no

  required trading volume element to sufficiently pleading a loss causation claim, they insist that, on

  the day Volkswagen made the corrective disclosure, the trading volume of Volkswagen’s ADSs



                                                   53
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 54 of 61 PageID# 667




  represented 340% of the average trading volume that year. To address the divergence in stock

  price between the common and preferred shares, Plaintiffs note that the two securities feature

  divergent characteristics that make the differing impacts on their share prices reasonable: (1)

  preferred ADSs have no voting rights; (2) lower trading volume for preferred ADSs; and (3) lower

  liquidity for preferred ADSs.

         A private securities class action plaintiff must plead that the defendant’s “share price fell

  significantly after the truth became known” and further “allege a sufficiently direct relationship

  between [their] economic loss and the defendants[’] fraudulent conduct.” Dura Pharm., Inc. v.

  Broudo, 544 U.S. 336, 346-47 (2005). While allegations of economic loss and loss causation need

  not be pleaded at the heightened particularized level of the PSLRA, Teachers’ Ret., 477 F.3d at

  172, the allegations must be sufficiently specific to “enable the court to evaluate whether the

  necessary causal link exists.” Katyle v. Penn Nat. Gaming, Inc., 637 F.3d 462, 471 (4th Cir. 2011);

  accord Dura, 544 U.S. at 347 (noting that for a plaintiff that has suffered an economic loss, “it

  should not prove burdensome” to “provide a defendant with some indication of loss and the causal

  connection that the plaintiff has in mind”). “Speculation and conjecture, even a well-educated

  guess, in the context of market prognostication does not suffice to establish a fact” that may anchor

  a successful loss causation allegation. Id. at 477. Rather, it is the plaintiff who shoulders the

  burden of “proving that the [alleged] act . . . of defendant [] caused the loss for which the plaintiff

  seek[s] to recover damages.” Teachers’ Ret., 477 F.3d at 185. Purchasing defendant’s stock at an

  “artificially inflated purchase price” does not, on its own, adequately plead sustained damages.

  Dura, 544 U.S. at 347.

         “To allege loss causation [] plaintiffs would have to allege that the market reacted to new

  facts disclosed that revealed previous representations to have been fraudulent.” Teachers’ Ret.,



                                                    54
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 55 of 61 PageID# 668




  477 F.3d at 187. A stock price drop alone is insufficient to meet the pleading standard for loss

  causation, otherwise a plaintiff could proceed on such a theory and “effectively resurrect” what

  the Supreme Court discredited in Dura. Metzler Inv. GMBH v. Corinthian Colleges, Inc., 540 F.3d

  1049, 1064 (9th Cir. 2008); see also id. (rejecting the euphemistic view that “a plaintiff will always

  be able to contend that the market ‘understood’ a defendant’s statement precipitating a loss as a

  coded message revealing the fraud”). Instead, “[l]oss causation . . . requires a plaintiff to show

  that a misrepresentation that affected the integrity of the market price also caused a subsequent

  economic loss.” Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 812 (2011).

         Plaintiffs must specifically show that the “misrepresentation or omission was one

  substantial cause of the investment’s decline in value.” Singer v. Reali, 883 F.3d 425, 445 (4th Cir.

  2018). When “the defendant company itself made a disclosure that publicly revealed for the first

  time that the company perpetrated a fraud on the market by way of a material misrepresentation or

  omission,” plaintiffs must tie a decline in the stock price to the corrective disclosure. Id.; see also

  In re Williams Sec. Litig., 558 F.3d 1130, 1140 (10th Cir. 2009) (“Any reliable theory of loss

  causation that uses corrective disclosures will have to show both that corrective information was

  revealed and that this revelation [prompted] the resulting decline in price” rather than “some other

  negative information about the company.”).

         This Court finds that Plaintiffs have, collectively, pleaded economic loss and loss

  causation. 21 In the Amended Complaint, Plaintiffs specifically allege that Lead Plaintiff purchased



         21
            As already noted, Lead Plaintiff’s PSLRA certification notes that he purchased preferred
  stock on March 30, 2021 at $38.42 per share and sold such stock in part on April 1, 2021 for $36.06
  per share and on April 12, 2021 for $34.90 per share. Dkt. 9-2 at 2; Dkt. 9-3 at 2. However, this
  Court takes judicial notice of the fact that the price of preferred stock never reached these figures
  and instead, these share prices appear to align with the price ranges of the ordinary shares. See
  Dkt. 9-3 at 2 (classifying shares purchased by Lead Plaintiff as “VWAGY” which is the ticker for
  the ordinary shares). The Amended Complaint and supporting documentation also suggest that
                                                    55
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 56 of 61 PageID# 669




  ADSs the day of the initial announcement and then sold them after the public retraction at a lower

  price than when they had purchased the securities. See Dkt. 9-3. The closing share price on March

  29, 2021 of $34.65, following the initial name change announcement, reflected a 6.5% increase in

  the price of ordinary shares from the previous trading day closing price and a 67.9% increase in

  volume from the previous trading day. Dkt. 23-1. Following the republication of the name change

  announcement on March 30, 2021, the closing price for ordinary ADS climbed to $37.75, marking

  an 8.9% increase in price from the previous close and a cumulative 16.0% increase from the closing

  price on the last trading day before the initial name change announcement. Id. Volume also

  increased substantially on March 30, 2021, marking nearly a 400% increase from March 26, 2021,

  the last trading day preceding the name change announcement. Id. 22 On March 31, 2021, ordinary

  ADSs closed at $36.30 following the name change retraction, marking a 3.8% decrease in share

  price from the previous day. Id. The share price declined further to $35.58 by the close of trading

  on April 1, 2021, marking a cumulative 6.1% decrease in share price from the close of trading

  immediately prior to the name change announcement retraction. Id. The next trading day, April



  Plaintiff Wells has not sold his stock. See Dkt. 21 at 66 (indicating Plaintiff Wells only purchased
  common shares during the class period but providing no date of sale). However, Section 21D(e)
  of the PSLRA provides a calculation of damages framework that does not require the plaintiff to
  have actually sold stock to make a § 10(b) claim. See 15 U.S.C. § 78u-4(e)(1) (allowing for
  plaintiff to hold shares past 90-day period); Ross v. Walton, 668 F. Supp. 2d 32, 43 (D.D.C. 2009)
  (agreeing that a “sale of stock is not necessary” under the PSLRA); Malin v. XL Cap. Ltd., No.
  3:03-cv-2001, 2005 WL 2146089, at *4 (D. Conn. Sept. 1, 2005)) (same).
         22
             This Court’s opinion does not turn on trading volume. Despite Defendants’ appeal,
  nothing in the Fourth Circuit’s opinion in Yates purports to advance a rule that unusual trading
  volume is a hallmark litmus test for finding a corrective announcement proximately caused
  economic loss. Trading volume only drove the court’s analysis to the extent it reflected unusual
  trading activity by insiders—which is not alleged in this case. See Yates, 744 F.3d at 891.
  Nevertheless, this Court cannot ignore that increased trading volume around a corrective
  disclosure, supported by additional compelling allegations, serves to make the causal connection
  more plausible.

                                                  56
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 57 of 61 PageID# 670




  5, 2021, the closing share price rose to $37.16 but then began a steady decline over the following

  months until finally climbing back above the pre-name change retraction closing price on June 7,

  2021. Id.

         Insofar as the allegations of the Amended Complaint demonstrate a plausible circumstance

  in which the alleged misrepresentation impacted the “integrity of the market price” and a

  “subsequent economic loss,” Plaintiffs have satisfied their pleading burden at this early stage in

  the case. Erica P. John Fund, 563 U.S. at 812. Under the applicable standard in assessing this

  case at the pleading stage, and drawing all inferences in Plaintiffs’ favor and accounting for the

  necessarily contextual analysis of a loss causation assessment, Wochos v. Tesla, Inc., 985 F.3d

  1180, 1197 (9th Cir. 2021), this Court finds that the declines in share price following the public

  revelation of the alleged false statement, could plausibly be understood to have impacted the share

  price after market close on March 30, 2021, Dura, 544 U.S. at 346-47. Plaintiffs have pleaded,

  with specificity, the timing and manner in which various news outlets, investment analysts, and

  academics publicized both the name change announcement and retraction. See Dkt. 21 ¶¶ 13, 107-

  16, 121-34.

         In their reply brief, Defendants do not address persuasive authority from the Second Circuit

  law holding that “the fact that the price rebounded does not, at the pleading stage, negate the

  plaintiff’s showing of loss causation.” Acticon AG v. China North East Petroleum Holdings Ltd.,

  692 F.3d 34, 39-40 (2d Cir. 2012). In Acticon, the Second Circuit agreed with a district court’s

  reasoning that the ultimate determination of why the share price rebounds “requires the court to

  consider ‘a competing theory of causation and raises factual questions not suitable for resolution

  on a motion to dismiss.’” Id. (quoting Malin, 2005 WL 2146089, at *4 n.5); see also Carlucci, 907

  F. Supp. 2d at 724 (in the context of loss causation, provided the allegations lay a proper



                                                  57
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 58 of 61 PageID# 671




  groundwork for establishing proximate cause, “the court’s skepticism is best reserved for later

  stages of the proceedings when the plaintiff’s case can be rejected on evidentiary grounds”

  (quoting In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1057 (9th Cir. 2008)); Municipal Mortg.,

  876 F. Supp. 2d at 647 (same).

         The authority upon which Defendants rely is less persuasive. In Metzler, the Ninth Circuit

  did not find sufficient allegations of loss causation when a 10% price drop quickly rebounded

  because the pertinent disclosure contained other negative information about the corporate

  defendant in addition to the alleged misstatement. Metzler, 540 F.3d at 1065. Here, the alleged

  corrective disclosure deals entirely with the name change, and nothing in the announcement could

  plausibly warrant an inference that some other fact caused the decline in Volkswagen ADR value.

  Acticon also tempers the more expansive views propagated by the district court cases Defendant

  cites. Acticon, 692 F.3d at 41 (discussing the limitations of, inter alia, the opinions in In re

  Manulife Fin. Corp. Sec. Litig., 276 F.R.D. 87, 104 (S.D.N.Y. 2011) and In re Immucor, Inc. Sec.

  Litig., No. 1:09-cv-2351, 2011 WL 2619092, at *4 (N.D. Ga. June 30, 2011)). Those cases

  advance a rule in which a plaintiff cannot recover under the PSLRA if the stock price increases for

  some reason unrelated to the fraud. But Acticon clarifies that “it is improper to offset gains that

  the plaintiff recovers after the fraud becomes known against losses caused by the revelation of the

  fraud if the stock recovers value for completely unrelated reasons . . . . In the absence of fraud, the

  plaintiff would have purchased the security at an uninflated price and would have also benefitted

  from the unrelated gain in stock price.” 692 F.3d at 41.

         While this Court acknowledges Dura’s forewarning that a lower price after a corrective

  disclosure may reflect alternative influencing events, 544 U.S. at 342-43, the specificity of the

  allegations surrounding the timing and distribution of the disclosure and the related changes in



                                                    58
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 59 of 61 PageID# 672




  ordinary share pricing and volume are enough for this Court to “assume that the price rose for

  reasons unrelated to its initial drop.” Acticon, 692 F.3d at 40. Nor is this Court persuaded that a

  single-digit percent loss, in and of itself, defeats a potential case for loss causation. See Klein, 525

  F. Supp. 3d at 669 (“Although the [4.87% maximum drop] that Plaintiffs point to fall short of the

  double-digit drops seen in many securities fraud cases, at this stage Plaintiffs have pleaded

  sufficient loss causation. Discovery may reveal other intervening factors that ultimately undercut

  Plaintiffs’ loss causation allegations, but the Court will resist making that factual determination at

  this stage of the litigation.”); see also Tesla, 477 F. Supp. 3d at 931 (finding sufficient allegations

  of loss causation with a maximum price drop of 9%). Allowing this case to proceed to discovery

  may well reveal whether the price drop reflects a significant or otherwise “modest” fall in the

  context of the ADRs average movements. See Wochos, 985 F.3d at 1197 (quoting Metzler, 540

  F.3d at 1064-65).

            At this stage in the litigation, Plaintiffs have sufficiently pleaded economic loss and loss

  causation; however, if Plaintiffs seek leave to file a Second Amended Complaint, the allegations

  should confirm whether Lead Plaintiff owned ordinary or preferred shares.

  C. Whether § 20(a) of the Exchange Act Applies to Volkswagen and the Individual Defendants

            Defendants argue that because Plaintiffs cannot show § 10(b) liability, there can be no

  grounds to advance a § 20(a) claim. Plaintiffs argue that they have sufficiently alleged § 10(b)

  liability as to Defendants and therefore they may also advance § 20(a) liability for Volkswagen

  AG and the Individual Defendants in their capacity as control persons of VWGoA.

            “[S]ection 20(a) is the vehicle for imposing liability on control persons.” 23 Singer v. Reali,

  883 F.3d 425, 438 (4th Cir. 2018). That liability depends on the liability of a controlled person


  23
       Section 20(a) of the Exchange Act provides that:


                                                      59
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 60 of 61 PageID# 673




  under § 10(b). See Yates, 744 F.3d at 894 n.8. “Thus, if the complaint ‘is legally insufficient with

  respect to the [section] 10(b) claim, the [derivative section] 20(a) claim must also fail.’” Singer,

  883 F.3d at 438 (quoting id.).

         To plead a § 20(a) claim, “a plaintiff must allege (1) a predicate violation of [§ 10(b)], and

  (2) control by the defendant over the primary violator.” In re Massey Energy Co. Sec. Litig., 883

  F. Supp. 2d 597, 627 (S.D.W. Va. 2012) (citations omitted). “On a motion to dismiss, a Section

  20(a) claim will . . . stand or fall based on the court’s decision regarding the [§ 10(b)] claim.”

  Kiken, 155 F. Supp. 3d at 609 (quoting Genworth, 103 F. Supp. 3d at 791). Thus, when a court

  finds that a plaintiff has adequately pleaded a primary violation under § 10(b), the § 20(a) claim

  survives the motion to dismiss as well. Id.

         Because Plaintiffs’ Amended Complaint does not adequately allege that Volkswagen AG

  “directly or indirectly induce[d] the acts or acts constituting the violation or cause of action,” and

  because Plaintiffs have not yet established § 10(b) liability against the Individual Defendants, this

  Court finds no grounds for § 20(a) liability.



                                          IV. CONCLUSION

         Ultimately, this Court is not necessarily persuaded that the incident giving rise to this

  litigation was an April Fool’s joke gone wrong. However, based on § 10(b) of the Securities and



         Every person who, directly or indirectly, controls any person liable under any
         provision of this chapter or of any rule or regulation thereunder shall also be liable
         jointly and severally with and to the same extent as such controlled person to any
         person to whom such controlled person is liable . . . unless the controlling person
         acted in good faith and did not directly or indirectly induce the act or acts
         constituting the violation or cause of action.

  15 U.S.C. § 78t(a).

                                                   60
Case 1:22-cv-00045-RDA-WEF Document 48 Filed 03/14/23 Page 61 of 61 PageID# 674




  Exchange Act and the Supreme Court’s clear teachings governing the disposition of matters such

  as those raised herein, this Court cannot, based on the facts alleged in the Amended Complaint,

  allow the case to proceed. Accordingly, it is hereby ORDERED that the Motion to Dismiss (Dkt.

  22) is GRANTED and the Amended Complaint is DISMISSED without prejudice as to both counts

  of the Amended Complaint; and it is

         FURTHER ORDERED that if Plaintiffs seek to further amend the Amended Complaint

  (Dkt. 21), Plaintiffs must file a Motion to Amend, with a proposed Second Amended Complaint

  attached, within fourteen (14) days of this Order, in which Plaintiffs clearly identify all proposed

  amendments to the Amended Complaint.

         The Clerk is directed to forward copies of this Order to counsel of record.

         It is SO ORDERED.

  Alexandria, Virginia
  March 14, 2023




                                                  61
